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                UNITED STATES DISTRICT COURT
             FOR THE SOUTHERN DISTRICT OF TEXAS
                      HOUSTON DIVISION

TOSHIBA INTERNATIONAL           §
CORPORATION,                    §
                                §
               PLAINTIFF,       §
v.                              §
                                §
                                § No. 4:19-cv-04274
SUDHAKAR KALAGA,                §
an individual, VIJAYAGOWRI      §
“JAYA” KALAGA, an individual,   §
KIT CONSTRUCTION SERVICES, §
INC., KIT PROFESSIONALS, INC., §
SKBP VENTURES, LLC,             §
SVSRK ENTERPRISES, LLC,         § JURY TRIAL DEMANDED
RUDOLPH CULP, as independent    §
administrator of the ESTATE     §
OF PABLO D’AGOSTINO,            §
PD RENTALS, LLC,                §
JANUARY 22 1992, LLC,           §
VINOD VEMPARALA, an individual, §
V2V SOLUTIONS, LLC,             §
CHETAN VYAS, an individual,     §
ABRAHAM JOSEPH, an individual, §
and ONEPOINT, INC.,             §
                                §
               DEFENDANTS.      §

    PLAINTIFF’S MOTION FOR A PRELIMINARY INJUNCTION
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                                CONCISE SUMMARY

      The primary purpose of this motion for a preliminary injunction is for the

Court to preserve the last $5 million remaining in the Kalaga Defendants’ personal

and corporate bank accounts after they spent, transferred, or hid away over

$3 million since September 2019, when they first became aware that Toshiba

International Corporation (“TIC”) had discovered their fraud. The $5 million that is

left represents just a small fraction of the $109 million bid-rigging and bribery fraud

they committed against TIC. TIC’s motion for a preliminary injunction against the

Kalaga Defendants presents the Court with the following four issues:

 Irreparable Harm. Bank records show that over the last five months, the
  Kalaga Defendants have been dissipating their bank accounts to further victimize
  TIC and impair its ability to recover what little is left of the funds that the Kalaga
  Defendants stole. For example, KIT Construction’s bank account has dropped
  97% from $3.85 million to approximately $131,000. Even as this Court
  considered TIC’s request for a TRO in December 2019, the Kalagas were actively
  draining the accounts and making lavish payments for their family members.
  There is no genuine dispute that these funds are traceable to the fraud. Between
  2013 and 2019, KIT Construction deposited approximately $83 million in check
  payments from TIC in its Bank of America accounts ending in -3327
  and -9169. The bank records show that TIC was KIT Construction’s only
  customer. From these bank accounts, the proceeds of the fraud were sent to other
  bank accounts, including approximately $13 million to KIT Professionals and
  another $11.8 million to the Kalagas’ personal bank accounts.
   Bank records show that since September 2019, when Kalaga became aware of
   the federal criminal investigation, the Kalaga Defendants have been methodically
   draining their corporate bank accounts to pay for the personal expenses of their
   adult children, their parents, and themselves to place the funds out of the reach
   of TIC in the event of a judgment.


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   For example, from September 1, 2019, to the present, Sudhakar Kalaga
   purportedly paid over $1.8 million to the IRS in round dollar amounts for Rohit
   and Sharat Kalaga, his adult children in college; for Srihari Kalaga, his father; for
   Deekshitulu Lanka, Jaya’s father, and for themselves. The Kalagas have also
   continued to allow their children to charge personal expenses, such as college
   tuition and parking expenses, to the KIT corporate credit cards. There was also
   a transfer of $627,559 from KIT Professionals to a Deutsche Bank
   account. There was a transfer of $1.75 million to the bank account of Rusty
   Hardin from KIT Construction, presumably to fund the criminal defense of
   Sudhakar Kalaga using funds that are the proceeds of fraud. There are also
   apparent transfers to offshore accounts, including transfers to accounts located in
   India. In light of these transfers and others described below, the Court should
   freeze the Kalaga Defendants’ bank accounts, investment accounts, physical
   assets, and real estate to prevent further dissipation and irreparable harm to TIC.
 Likelihood of Success on the Merits – Bribes. KIT Construction’s Bank of
  America records and Pablo D’Agostino’s income tax returns show over
  $5.5 million in bribery checks for so-called “Business Development” paid to
  Pablo D’Agostino’s personal company, January 22 1992, LLC, and to his ex-
  wife, Melissa D’Agostino. The checks were signed by both Sudhakar and Jaya
  Kalaga. In addition, property transfer records show approximately $4 million in
  real estate transferred from Sudhakar Kalaga to D’Agostino, with eight recorded
  before D’Agostino’s suicide and ten more notarized and ready to be recorded at
  the time of his suicide. Kalaga also sent D’Agostino over $100,000 in shipments
  of 100-ounce silver bars, among other luxury gifts, including cars and watches.
 Likelihood of Success on the Merits – Fake Bids. The e-mail records between
  Vinod Vemparala and Sudhakar Kalaga show that Kalaga was preparing bids in
  the name of Vemparala’s company, V2V Solutions, LLC, as well as a non-
  existent company called Sermeg Industrial, Inc. In addition, Vemparala admitted
  to coordinating with Kalaga to submit bids to TIC at prices higher than KIT
  Construction’s prices and admitted that Kalaga would also create additional V2V
  and Sermeg bids without Vemparala’s involvement. This occurred nearly 70
  times. Vemparala was paid at least $230,000 by Sudhakar Kalaga for his
  involvement in this fraud. This evidence of fake bids submitted by Kalaga and
  Vemparala, and at least $10 million in bribe payments to D’Agostino, is
  sufficient to establish TIC’s likelihood of success on the merits against the Kalaga

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     Defendants in its civil RICO, breach of fiduciary duty, knowing participation in
     breach of fiduciary duty, and constructive trust claims.
 Adverse Inference. During his deposition, Sudhakar Kalaga refused to answer
  all questions about the substance of TIC’s claims against him, invoking his Fifth
  Amendment right against self-incrimination. Kalaga has also refused to produce
  text messages between himself and D’Agostino, citing an act-of-production
  privilege rooted in the Fifth Amendment right against self-incrimination. TIC is
  entitled to an adverse inference against Kalaga and his companies based on
  Kalaga’s refusal to answer relevant questions about his submission of fake bids
  to TIC and payment of bribes to D’Agostino.
        The bank records TIC obtained through the Court-ordered expedited

discovery process show that the Kalagas are doing everything they can do to hide

funds from this Court and deny TIC its equitable remedy and a meaningful financial

recovery from the massive fraud they committed. Accordingly, TIC respectfully

requests that the Court set an expedited briefing and hearing schedule so that TIC

may present its evidence supporting a preliminary injunction to the Court.

        TIC seeks a preliminary injunction to:

       Freeze all corporate and personal bank accounts and investment accounts,
        both domestic and offshore, of the Kalaga Defendants, including the KIT
        Professionals savings account containing $3.7 million — the last account
        remaining with any significant balance;

       Freeze all real estate acquired by the Kalaga Defendants since their
        participation in the fraud began in 2009; and

       Freeze all personal assets acquired by the Kalaga Defendants after their
        participation in the fraud began in 2009, including cars, artwork, watches,
        luxury clothing, jewelry, silver bars, gold bars, and safes.

Justice requires nothing less.



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                           MEMORANDUM OF LAW

      Since the TRO hearing in December 2019, TIC sent subpoenas to Bank of

America, Chase, Wells Fargo, and Green Bank pursuant to the terms of the Court’s

Expedited Discovery Order (ECF No. 40).           The information provided by the

subpoenaed banks is shocking. From the moment that the Kalagas became aware

that Pablo D’Agostino was terminated and that there was an ongoing federal criminal

investigation, KIT Construction’s bank accounts have dropped 97%, and Sudhakar

Kalaga’s personal bank account has dropped 59%. See Declaration of Richard A.

Pollack (Ex. 1) at ¶ 27. Millions of dollars have disappeared in the last five months.

The bank records show that the money has been used to fund purely personal

expenses of the Kalaga family in an effort to put the funds out of the reach of this

lawsuit. The Kalagas have consolidated what remains in Jaya Kalaga’s personal

bank account and in the checking and savings accounts of KIT Professionals. The

following chart shows the sharp drop in account balances since September:

                                                      Beginning
           Account                                     Balance           Ending
  Bank     Number          Account Name               9/24/2019          Balance
 Bank of
 America     -3327 KIT Construction - Checking    $ 3,851,296.13     $   131,396.69
 Wells
 Fargo       -2053 KIT Professionals - Checking   $ 535,708.78       $   488,319.45
 Wells
 Fargo       -8865 KIT Professionals - Savings    $ 3,262,305.64     $ 3,715,326.87
 Wells
 Fargo       -4154 Sudhakar Kalaga - Checking     $     85,766.96    $     35,589.03
 Wells
 Fargo       -7512 Jaya S Kalaga - Savings        $   156,382.10     $   475,279.85
                   Totals                         $   7,891,459.61   $   4,845,911.89

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See id. These accounts had $7.9 million as of September 24, 2019. The KIT

Construction account, which was used solely to receive payments from TIC — its

only customer — has been completely emptied by the Kalagas. As of January 31,

2020, the KIT Construction account that received TIC’s payments is down 97% —

a decline of over $3.7 million. Overall, the accounts have lost $3.045 million. There

is a risk of further dissipation occurring over the next few months absent an

injunction.

      Over the course of the fraud from 2013 to 2019, the Kalagas made regular

transfers from a KIT Construction bank account to the KIT Professionals checking

account totaling nearly $18 million. See id. at ¶ 19. In addition, during the course

of the fraud, TIC directly paid KIT Professionals a total of $11,786,026. See id. at

¶¶ 23-24. This means that between direct payments from TIC and Kalaga bank

transfers from KIT Construction, KIT Professionals received a total of at least

$29.5 million of TIC’s funds out of the $108.8 million paid by TIC to KIT entities

from 2011 to 2019. See id. at ¶ 23. The KIT Construction transfers to KIT

Professionals are as follows:

          KIT Construction       KIT Professionals
          Account Sending        Account Receiving               Amount
               Transfer               Transfer        Date        Total
         Wells Fargo -3438      Wells Fargo -2053    03/18/13      $254,790
         Wells Fargo -3438      Wells Fargo -2053    09/17/13       $74,510
         Wells Fargo -3438      Wells Fargo -2053    09/17/13      $204,300
         Wells Fargo -3438      Wells Fargo -2053    09/30/13      $125,000
         Wells Fargo -3438      Wells Fargo -2053    09/30/13      $150,000


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         Wells Fargo -3438    Wells Fargo -2053      09/30/13      $380,260
         Wells Fargo -3438    Wells Fargo -2053      04/01/14      $500,250
         Wells Fargo -3438    Wells Fargo -2053      08/01/14      $375,000
         Wells Fargo -3438    Wells Fargo -2053      12/12/14      $875,000
         Wells Fargo -3438    Wells Fargo -2053      12/26/14      $500,000
         Wells Fargo -3438    Wells Fargo -2053      11/02/15      $750,000
         Wells Fargo -3438    Wells Fargo -2053      12/28/15      $700,000
         BoA -3327            Wells Fargo -2053      01/27/16       $300,000
         BoA -3327            Wells Fargo -2053      03/28/16       $600,000
         BoA -3327            BoA -7660              10/24/16       $250,000
         BoA -3327            BoA -7660              11/18/16       $750,000
         BoA -3327            BoA -7851              11/21/16        $20,000
         BoA -3327            BoA -7903              11/21/16        $20,000
         BoA -3327            BoA -7851              12/15/16       $500,000
         BoA -3327            BoA -7851              01/03/17        $50,000
         BoA -3327            BoA -7851              01/03/17       $100,000
         BoA -3327            Wells Fargo -2053      04/04/17       $127,500
         BoA -3327            Wells Fargo -2053      06/22/17       $750,000
         BoA -3327            BoA -7903              10/10/17       $100,000
         BoA -3327            BoA -7660              11/09/17       $375,000
         BoA -3327            BoA -7851              11/13/17       $300,000
         BoA -3327            Wells Fargo -2053      12/22/17       $900,000
         BoA -3327            Green Bank             12/22/17     $1,000,000
         Wells Fargo -3438    Wells Fargo -2053      01/12/18      $154,695
         BoA -3327            Green Bank             01/19/18     $2,000,000
         BoA -3327            BoA -7903              05/16/18        $60,000
         BoA -3327            BoA -7851              11/28/18       $700,000
         BoA -3327            BoA -7660              04/30/19     $1,250,000
         BoA -3327            BoA -7660              06/06/19     $1,100,000
         BoA -3327            BoA -7660              10/18/19     $1,500,000
                                                     TOTAL       $17,796,305

Significantly, the last transfer on October 18, 2019, for $1.5 million was the second-

highest value transfer the Kalagas ever made from KIT Construction to KIT

Professionals and was about 3x higher than the average transfer of approximately

$500K. This money was not used for any legitimate business purpose, but instead

was used to benefit the Kalagas personally and hide funds from the lawsuit

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       As a result of this sudden dissipation of funds and the threat of further losses

from KIT Professionals’ savings account, TIC respectfully requests that the Court

issue a preliminary injunction freezing the Kalaga Defendants’ bank accounts,

properties, and personal assets. In order to obtain a preliminary injunction, a plaintiff

must show: (1) a substantial likelihood that he will prevail on the merits, (2) a

substantial threat that he will suffer irreparable injury if the injunction is not granted,

(3) his threatened injury outweighs the threatened harm to the party he seeks to

enjoin, and (4) granting the preliminary injunction will not disserve the public

interest. See Janvey v. Alguire, 647 F.3d 585, 595 (5th Cir. 2011); Clark v. Prichard,

812 F.2d 991, 993 (5th Cir. 1987). As set forth below, TIC meets these requirements

for injunctive relief.

          TIC Faces Irreparable Harm from the Kalaga Defendants’
          Dissipation of Funds from the Bank Accounts, Disposition of Real
          Estate, and Sale of Luxury Assets.

       TIC faces irreparable harm if this Court does not grant injunctive relief. A

preliminary injunction should issue when necessary to preserve the status quo and

“protect a [movant’s] remedy, including a damages remedy, when the freezing of

the assets is limited to the property in dispute or its direct, traceable proceeds.”

Janvey, 647 F.3d at 600. A plaintiff may also seek injunctive relief on an equitable

cause of action, such as TIC’s request for a constructive trust, regardless of whether

a plaintiff also seeks legal remedies. See Fed. Sav. & Loan Ins. Corp. v. Dixon, 835



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F.2d 554, 561–62 (5th Cir. 1987) (“[A]n asset freeze by preliminary injunction is an

appropriate method to assure the meaningful, final equitable relief sought,” where

plaintiff sought a constructive trust on funds defendants gained from breach of

fiduciary duties, as well as other legal remedies); see also Animale Group v. Sunny’s

Perfume, Inc., 256 Fed. App’x 707, 708–09 (5th Cir. 2007) (citing cases from

numerous circuits to uphold asset-freezing preliminary injunction where both legal

and equitable relief was sought).

           A. Further Dissipation of the Kalagas’ Personal and Corporate
              Bank Accounts Will Irreparably Harm TIC

                      From 2013 to 2019, Kalaga Deposited $83 Million Paid by
                      TIC into KIT Construction’s Bank of America Accounts
                      Ending in -3327 and -9169.
      All the funds in KIT Construction’s Bank of America accounts -3327

and -9169 were proceeds of Sudhakar and Jaya Kalaga’s bribery and bid-rigging

fraud. The bank records TIC obtained through expedited discovery show that the

Kalagas were consistent in depositing TIC’s checks to KIT Construction into the

Bank of America bank accounts ending in -3327 and -9169. Between just 2013 and

2019, the accounts ending in -3327 and -9169 show approximately $83 million in

deposits of payments from TIC. Pollack Decl. at ¶ 11. In fact, 97.9% of KIT

Construction’s total deposits from 2013 to 2019 came from TIC. See id. at ¶ 12.

The accounts show that KIT Construction paid LSI, the subcontractor that did most

of the work at TIC, $21.5 million during this same period.          See id. at ¶ 13;


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Declaration of Jason Snell (December 6, 2019) (“Snell Decl.”) (ECF No. 31-6) at

¶ 26, Ex. 8. The accounts also reflect payments to other potential subcontractors on

TIC-related projects of (at most) approximately $6 million and an additional $2.2

million in potential TIC related transfers. Pollack Decl. at ¶¶ 13–14. With total

payments received from TIC of $82,995,976, and total disbursements of

$29,990,295, this reflects an aggregate mark-up of 176.7 percent. See id. at ¶ 15.

      The $53 million difference between what KIT Construction received and paid

out as costs was profit for the Kalaga Defendants, representing the proceeds of the

bribery and bid-rigging conspiracy from 2013 to 2019. See id. at ¶ 17. The years

2011 to 2012 are not included in this calculation because the bank records only go

back seven years. Additional discovery will allow TIC to account for the earlier

years; however, an extrapolation of the loss to the missing years and to KIT

Professionals, which also received direct payments from TIC, yields a total loss to

TIC of at least $69.5 million. With the treble damages permitted under TIC’s civil

RICO claim, TIC’s total damages are at least $208.5 million from the Kalagas’

illegal bribery and bid-rigging conspiracy. See id. at ¶ 24.

                       Since September 2019, the Kalagas Have Rapidly
                       Dissipated Cash.

      The Kalagas learned about the criminal investigation against them soon after

D’Agostino was terminated on September 24, 2019, and TIC sent a letter requesting

a meeting with Sudhakar Kalaga. Rusty Hardin called TIC’s legal counsel on

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September 26, 2019, the same day bank records reflect his firm received a $100,000

wire transfer from KIT Construction’s bank account. Mr. Hardin followed up with

an e-mail on September 27, 2019, stating, “[W]e have been informed that there is a

criminal investigation of this matter by federal law enforcement and until that is

completed, we will not be allowing our client to be interviewed by you or anyone

outside of law enforcement.” See Ex. 2. Therefore, the Kalagas were well-aware,

at least as of September 27, that their fraud scheme had been discovered by TIC and

federal law enforcement.

      In the three months after becoming aware of Pablo D’Agostino’s termination

and the federal criminal investigation (September 24), the lawsuit (October 30), and

TIC’s Motion for a Temporary Restraining Order (November 27), the Kalagas

drained approximately $3 million from KIT Construction’s Bank of America

account, leaving virtually nothing. Pollack Decl. at ¶ 28. In September, prior to

D’Agostino’s termination, TIC paid KIT Construction $540,995.65, and the Kalagas

deposited the checks into the Bank of America account, bringing the total in the

account to $4.1 million. As of December 31, 2019, there was $131,396 left in the

account. See id. at ¶ 27. Where did the money go?

Opening Balance                                                              $3,851,296
      Disbursements:
         Payments to Rusty Hardin (Attorney)                        $1,750,000
         Transfer to KIT P (*2053) via SVRSK (BOA *7660) – Note 1    1,500,000
         Payments to credit card                                        48,177
         Tax Payments (State of Texas Comptroller)                      40,666
         Payments to Bob Kakarala (CPA)                                 15,500


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           Payment to Rohit Kalaga                                                   11,470
           Payment to Sharat Kalaga                                                  11,470
           Payments to Charity and Other Payments for Benefit of Sudhakar Kalaga      3,338
           Payments to subcontractors or unknown payees                             351,063
                                                                     Total       $3,731,685
Closing Balance                                                                                   $131,397

       Note 1
       The following disbursements are traceable to the $1.5 million transfer to KIT P these funds:

          10/17/2018 – Transfer to Sudhakar Kalaga (Wells *4154)                     $500,000
           ultimately used for tax payments on behalf of Sudhakar
           Kalaga and family members.

          12/19/2019 – Payment to Deutsche Bank for                                    627,559
           “All Emp Annual Bonus” via KIT P (Wells *2053)

          12/30/2019 – Payment to John Hancock for                                     189,658
           “2019 Profit Sharing” via KIT P (Wells *2053)

See id. at ¶ 28.

                          $1.75 Million Paid to Rusty Hardin by KIT Construction
       Nearly half of the money, $1.75 million, went to Rusty Hardin, counsel for

the Kalaga Defendants, presumably as his fee for the criminal and civil cases. The

wires began two days after D’Agostino’s termination and continued monthly as

follows:

 09/26/2019 KIT Construction Rusty Hardin & Associates, LLP                              $100,000

 10/21/2019 KIT Construction Rusty Hardin & Associates, LLP                              $500,000

 11/13/2019 KIT Construction Rusty Hardin & Associates, LLP                              $50,000

 12/13/2019 KIT Construction Rusty Hardin & Associates, LLP                              $1,100,000

                                                                        TOTAL           $1,750,000



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See id. at ¶ 18; Ex. 3 . Assuming these payments are for legal fees, Kalaga has used

the proceeds of his fraud against TIC to pay for his personal criminal and civil

defense.1

                          $1.5 Million Wired to KIT Professionals Used to Pay
                          “Employee Bonuses,” the Kalagas Personally, Kalaga
                          Family Taxes, and Profit-Sharing Plan.

       On October 18, 2019, Kalaga transferred $1.5 million from KIT

Construction’s bank account to a bank account in the name of SVSRK and then to

KIT Professionals’ Well Fargo account ending in -2053. Kalaga used all of those

funds to make the following payments:

             $627,559 to Deutsche Bank for purported “Employee Bonuses”;

             $189,658 to John Hancock for “Profit Sharing”; and




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  To the extent that these funds went to pay for the Kalagas’ attorney’s fees, those funds are
proceeds directly traceable to the fraud and the Kalagas’ counsel is on notice that his fee may be
subject to clawback and forfeiture. F.T.C. v. Assail, Inc., 410 F.3d 256, 265 (5th Cir. 2005) (“when
an attorney is objectively on notice that his fees may derive from a pool of frozen assets, he has a
duty to make a good faith inquiry into the source of those fees. Failure to make such an inquiry in
the face of this duty will result in disgorgement of the funds.”); F.T.C. v. Network Servs. Depot,
Inc., 617 F.3d 1127, 1143 (9th Cir. 2010) (concluding that although client’s assets were not yet
frozen when attorney accepted his fee, attorney received sufficient notice to trigger “a duty to make
a good faith inquiry into the source of th[e] fee [ ].” citing Assail, 410 F.3d at 265.); In re Bell &
Beckwith, 838 F.2d 844, 850 (6th Cir.1988) (where circumstances surrounding the payment of
attorney’s fees proved sufficient to put attorney on notice that client's funds were obtained by
fraud, attorney not entitled to bona fide purchaser status and funds may be clawed back); In re
Moffitt, Zwerling & Kemler, P.C., 846 F.Supp. 463, 474 (E.D. Va.1994) (attorney’s fees may be
“subject to forfeiture, even in the attorney's hands” if funds used to pay fees were derived from
criminal activity), aff’d United States v. Moffitt, Zwerling & Kemler, P.C., 83 F.3d 660, 665 (4th
Cir. 1996).


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           $500,000 of the total $665,000 in purported payments of Kalaga family

              taxes after September 2019.

 Pollack Decl. at ¶ 28. First, KIT Construction reported to an insurance company in

 2017 that it only has two employees — likely to be Sudhakar and Jaya Kalaga. See

 Ex. 4 (Colony Insurance General Casualty Application Signed by Sudhakar Kalaga

 at Question 8). Second, the $500,000 transferred to Kalaga appears to be purely a

 way for him to take cash out of the company. Third, it is unclear what the “Profit

 Sharing,” payment was used for. Finally, Kalaga purportedly paid the personal taxes

 of his family members as follows:

Item Category                                                   Oct-19       Jan-20

IRS USATAXPYMT - DEEKSHITULU LANKA                            20,000.00

IRS USATAXPYMT - ROHIT KALAGA                                 50,000.00    50,000.00

IRS USATAXPYMT - SHARAT KALAGA                                50,000.00

IRS USATAXPYMT - SRIHARI KALAGA                               20,000.00    75,000.00

IRS USATAXPYMT - SUDHAKAR & VIJAYAGOWRI                       150,000.00 250,000.00

                                                   TOTAL 290,000.00 375,000.00

 Pollack Decl. at ¶ 30.

       Rohit and Sharat Kalaga are the adult children of Sudhakar Kalaga. They

 appear to be in college because they are charging their college tuition payments to a

 KIT Construction credit card. See Ex. 5. Srihari Kalaga appears to be Sudhakar’s


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father and Deekshitulu Lanka appears to be Jaya Kalaga’s father. Apart from using

KIT Construction and KIT Professionals funds to make personal tax payments,

another concern is that they could be using the IRS as a cover to hide funds from

this lawsuit. In fact, if the Kalagas overpaid the tax liabilities of their family

members, they will eventually get a refund or can apply the payments to future tax

liabilities. Sudhakar Kalaga himself purportedly paid $1.2 million to the IRS in

September 2019 for his own personal tax liability and $665,000 in 2019 for the tax

liability of KIT Professionals. Pollack Decl. at ¶ 30.

      Although TIC sent a subpoena to Bob Kakarala, the Kalaga family accountant,

Mr. Hardin’s law firm is now representing Mr. Kakarala in responding to the

subpoena, and they have indicated they intend to object to the production of the tax

returns.

      From the KIT Construction bank account, the Kalagas moved the money

around and commingled it with other funds. From 2013 to 2019, the Kalagas

transferred:

       $18 million to KIT Professionals’ bank account,

       $19 million to pay the Kalagas and their family members,

       $5.5 million in cash bribe payments to D’Agostino,

       Hundreds of thousands in payments to co-conspirators Chetan Vyas and

           Vinod Vemparala, and


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       Millions of dollars in personal checks, credit card payments, and bank cash

         withdrawals.

                      The Kalagas Have Lavishly Spent the Proceeds of the
                      Fraud on Themselves, Charged to a KIT Construction
                      Credit Card.

      In the short period between hiring counsel and TIC filing its Complaint, the

Kalagas used KIT credit cards to, among other things, travel to India, buy $1,699

worth of electronics, cover $714.45 in country club expenses for multiple months,

and spend $5,969.68 on goods from Amazon.com. See Exs. 5–15. After TIC filed

its Complaint on October 30, 2019, the Kalagas continued spending the proceeds of

the fraud using credit cards linked to KIT Professionals and KIT Construction. For

example, Sudhakar Kalaga’s KIT credit card spending reveals a November 2019 trip

to Las Vegas to stay at the Bellagio Hotel. See Ex. 6. The same statement shows a

$470.44 purchase at “Five Star Liquor” in Las Vegas and a $315.00 expenditure at

the TAO Asian Bistro and Nightclub. See id. On January 6, 2020, a KIT credit card

was used to make a $5,766.65 tuition payment to the University of Texas,

presumably for one of Kalaga’s adult children. See Ex. 16. That same credit card

has been used to pay at least $4,553.76 in parking fees at the University of Texas in

the few months after TIC filed its Complaint. See Exs. 17–20.




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           B. Potential Dissipation of Real Estate will Irreparably Harm TIC.

      This Court has granted injunctive relief where funds from an illegal scheme

were taken to purchase real property. See O’Kane v. Sembritzky, No. 4:18-cv-02728,

2019 U.S. Dist. LEXIS 102357 (S.D. Tex. June 19, 2019). In O’Kane, plaintiffs

alleged that defendants used fraudulently obtained money to buy a luxury condo. Id.

at *1–2. The court there granted a preliminary injunction to prevent defendants from

transferring the real property. Preliminary Injunction Order at 3; O’Kane, 2019 U.S.

Dist. LEXIS 102357, ECF No. 11. In granting an order on additional injunctive

relief, this Court in O’Kane found substantial harm would occur if plaintiffs were to

lose the property as part of their equitable relief. O’Kane, 2019 U.S. Dist. LEXIS

102357, at *16–20. This Court noted that the condo was “an identifiable res that

[could] be traced back to [the] Plaintiffs’ subscription payments and proceeds [to

one of the Defendants].” Id. at *18.

      Except for one property acquired in 1998, all properties owned by the Kalaga

Defendants were acquired during the course of the fraud. Beginning in 2013 and

continuing until 2018, the Kalaga Defendants purchased 23 different properties.

Eight of these properties were transferred to D’Agostino or D’Agostino-owned

entities and recorded; Kalaga attempted to transfer ten of these properties in the same

manner on November 6, 2018, but failed to record or have D’Agostino sign the deed.




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The following are properties purchased during the course of the fraud that Kalaga

did not transfer:

   1.        734 Beckets Crossing Ln., Spring, TX 77373-8100
   2.        25527 Goss Spring Ct., Spring TX 77373-2296
   3.        22526 Goss Spring Ct., Spring, TX 77373-2295
   4.        10 Ellicott Way, Sugar Land, TX 77479-2870
   5.        23323 Kobi Park Ct., Spring, TX 77373-8349
   6.        47 Wickerdale Pl., The Woodlands, TX 77382-1674
   7.        4521 San Felipe St., #1801, Houston, TX 77027-3389
   8.        26 Whitekirk Pl., Magnolia, TX 77354-3276
   9.        706 Beckets Crossing Ln., Spring, TX 77373-8100
   10.       54 Blue Creek Pl., Spring, TX 77382-1779
   11.       43 Verbena Bend Pl., Spring, TX 77382-2303
   12.       21219 Fire Wind Ct., Spring, TX 77379-8253
   13.       1007 Lamson Ct., Spring, TX 77373-8060
   14.       22402 Spring Crossing Dr., Spring, TX 77373
   15.       23106 Oxbow Trail, Spring, TX 77373-8144.

See ECF No. 24, 24-17 (ownership of property by Sudhakar Kalaga and corporate

entities).

         All of these properties were purchased by Kalaga Defendants during a time

where they (or their entities) received over $100 million from TIC. Additionally, to

ensure facilitation of the scheme, the Kalaga Defendants transferred or attempted to

transfer over 80% of the 23 properties to D’Agostino or D’Agostino-owned entities,

leaving a few for themselves to enjoy. Not only were these properties likely

purchased with TIC’s money and to further perpetrate a fraud against TIC, absent an

injunction, TIC will have no guarantee that these properties will not be further

transferred to a third-party buyer. Should the properties be further transferred to a


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third-party buyer, TIC would have to pursue multiple lawsuits against successive

transferees of the properties in order to establish its interest via constructive trust.

See Janvey, 647 F.3d at 600 (“[A] remedy at law is inadequate if legal redress may

be obtained only by pursuing a multiplicity of actions.” (citing Lee v. Bickell, 292

U.S. 415, 421 (1934))). These 15 properties have a collective tax assessed value of

$6,322,150, and the purchase of these properties occurred with funds acquired after

the Kalaga Defendants began their fraud against TIC. Injunctive relief is therefore

necessary to prevent Plaintiff from being irreparably harmed and to preserve the

status quo.

              C. The Dissipation of Luxury Assets Purchased with the Proceeds of
                 the Fraud will Irreparably Harm TIC.
      The entire Kalaga family benefitted from the acts of Sudhakar and Jaya

Kalaga to defraud TIC. Sharat and Rohit Kalaga, sons of Sudhakar and Jaya Kalaga,

both received significant payouts from KIT Construction. As an example, KIT

Construction paid a $250,000 check with the memo line “Good luck Sharat!!” to

Sharat Kalaga on March 11, 2019:




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See Ex. 21. On June 21 and June 26, 2019, KIT paid $11,740 checks to Sharat and

Rohit with the memo line on both checks of “2019 Q2 Payroll.” See id. Besides

enjoying monetary benefits of the fraud, Sharat and Rohit both obtained internships

at TIC, in 2015 and 2017 respectively, through D’Agostino’s inside influence at the

company. See Am. Compl. ¶ 84. Before and after their internships, both Rohit and

Sharat Kalaga were involved in the operations of the companies, KIT Construction

Services and KIT Professionals. See id. Both sons continue to use KIT credit cards

to cover their expenses while at college, further demonstrating how the Kalaga

Defendants commingled their funds.

      KIT Construction generally spent the fortune it amassed as a result of the fraud

against TIC on lavish expenses. For example, from 2013 to 2019, Kalaga wrote

checks or made credit card purchases from KIT Construction’s bank account totaling

$454,670 to Karat 22 Jewelers (a/k/a Amrut 75, Inc.) and Zadok Jewelers. See Ex.

22. A single Zadok Jewelry purchase on July 15, 2013 was for $85,559.07:


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Id. at 7. KIT Construction spent up to $95,000 at a time at Karat 22 Jewelers:




Id. at 2. These purchases were entirely inconsistent with construction-related work,

even though Kalaga occasionally had silver bars shipped to KIT’s office. For

example, the KIT Construction Bank of America account -3327 was used to

purchase $20,740 in silver bars from APMEX on January 7, 2014. Id. at 7. Kalaga

had the order sent via FedEx to KIT Professionals:




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Ex. 23.

      TIC seeks imposition of a preliminary injunction upon assets reasonably

traceable to the Kalaga Defendants’ fraud, including assets of the Kalaga individuals

and their companies. Should the Kalaga Defendants be permitted to continue to

dissipate, transfer, or destroy assets, TIC’s claim for an equitable remedy, a

constructive trust, will be rendered moot, and TIC will be irreparably harmed. See

A.T.N. Indus. v. Gross, No. 4:14-cv-02473, 2014 U.S. Dist. LEXIS 200662, at *64

(S.D. Tex. Nov. 26, 2014), aff’d per curiam, 632 F. App’x 185 (5th Cir. 2015) (“If

Defendants dissipate the money [that Plaintiffs asked the Court to place in an

equitable trust], Plaintiffs’ equitable remedies will be rendered moot.” (citing




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Janvey, 647 F.3d at 601)). A substantial threat of irreparable injury exists

concerning TIC’s ability to recover on its claim for relief.

      The Fifth Circuit and this Court routinely find substantial and irreparable harm

where a plaintiff can provide evidence showing that a defendant is either concealing

or dissipating assets or funds it acquired from plaintiff through fraud. In Janvey, the

Fifth Circuit affirmed the grant of a preliminary injunction where the district court

held that the plaintiff was “entitled to a presumption that [defendants] would

dissipate the frozen assets absent a preliminary injunction because the assets were

fraudulently transferred as part of a Ponzi scheme.” See, e.g., Janvey, 647 F.3d at

600; see also id. at 599–601 (Plaintiff “provid[ing] evidence of [the Ponzi scheme]

and proof that each individual received proceeds from the fraudulent scheme” was

“sufficient to prove the likelihood of each individual removing or dissipating the

frozen assets but for the preliminary injunction”); A.T.N. Indus., 2014 U.S. Dist.

LEXIS 200662, at *60–66 (finding that a company would be irreparably harmed

where a defendant manager engaged in fraudulent transactions with plaintiff’s

money, and in order to conceal these transactions, defendant registered shell

companies he owned to resemble legitimate steel suppliers); Kalsi Eng’g, Inc., 2014

U.S. Dist. LEXIS 190052, at *6–7 (finding irreparable harm where an employee

wrongfully took funds “in acts that are the basis of this lawsuit” and subsequently

there was a “substantial threat of depletion”).


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      As in Janvey, A.T.N., and Kalsi, this Court should grant injunctive relief based

on the substantial probability that the Kalaga Defendants are likely to render

irretrievable their fraudulently obtained-funds.

      The threat of dissipation of monetary assets is especially heightened where a

defendant has international ties and sophistication in wiring funds to foreign bank

accounts. This Court, in granting a preliminary injunction on analogous facts to

TIC’s case, noted that “[i]n other circumstances, courts routinely cite the

international character of the circumstances of a case in imposing restraints on a

party.” A.T.N. Indus., 2014 U.S. Dist. LEXIS 200662, at *62 (citing United States

v. Townsend, 897 F.2d 989, 994 (9th Cir. 1990)).

      Other courts have also found irreparable harm in granting a preliminary

injunction where defendants either actually diverted monetary operations to foreign

bank accounts during the pendency of the proceedings or evidenced an intent to

move funds into offshore accounts. See Akishev v. Kapustin, No. 13-cv-

07152(NLH)(AMD), 2015 U.S. Dist. LEXIS 187996, at *10–11, 22¬23 (D.N.J.

Sept. 21, 2015); AIM Recycling, Fla., LLC v. Metals USA, Inc., No. 18-60292-CIV,

2018 U.S. Dist. LEXIS 159155, at *10–11, 12 (S.D. Fla. Sept. 17, 2018) (finding an

adverse inference that defendants had already spent significant amounts of money

and intended to “spirit it away abroad” where a defendant pled the Fifth as to

questions about defendants’ use of the money from the fraud and intention to move


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away into offshore accounts). The Kalaga Defendants make frequent trips between

the U.S. and India, and they have wired $771,316 to Indian bank accounts from their

U.S. Bank of America accounts, with one of the most recent examples occurring in

September 2019:

 WIRE          USD           DEBIT ID NAME       BENEFICIARY          BENEFICIARY BANK NAME
 DATE          AMOUNT                            BANK NAME            LINE234
  06/26/2013    170,000.00   SUDHAKAR KALAGA     AXIS BANK            GROUND FLOOR WELCOME COURT
                                                                      COMPLEXSECUNDERABAD
                                                                      INDIA
  04/16/2014    109,299.64   SUDHAKAR KALAGA     STATE BANK OF        PLOT NO.21, AUTONAGAR RD.,
                                                 HYDERABAD            TEH.VIJAVIJAYAWADAANDHRA
                                                                      PRADESH 520008 IN
  07/15/2014     25,000.00   KIT CONSTRUCTION    ICICI BANK LTD       6 2 1012 TGV MANSIONS OPP
                             SERVICES, INC                            INSTITUTIHYDERABAD, 500004, IN
  01/22/2015    116,902.29   SUDHAKAR KALAGA     HDFC BANK LTD        G/4, GROUND FLOOR, 40-1-48/2
                                                                      BANDARVIJAYAWADAANDHRA
                                                                      PRADESH 520010 IN
  01/28/2015     41,586.40   SUDHAKAR KALAGA     STATE BANK OF        RASHTRAPATHI ROAD OPP ARYA
                                                 INDIA                SAMAD BUSECUNDERABAD500003
  06/04/2015     32,057.81   KIT CONSTRUCTION    CANARA BANK          HYDERABAD MOZZAMJAHI
                             SERVICES, INC                            MARKETHYDERABAD, 500001, IN
  01/22/2016     30,125.47   KIT CONSTRUCTION    STATE BANK OF        NEAR CLOCK TOWER,S.D.
                             SERVICES, INC       INDIA                ROAD,SECUNDERABAD,IN 500003
  06/23/2016     76,203.25   KIT CONSTRUCTION    ANDHRA PRADESH       2-2-57/19, 1ST FLOOR, M.G. ROAD,
                             SERVICES, INC       MAHESH CO-OP         SEHYDERABAD500003 IN
                                                 URBAN B
  02/23/2017    153,395.41   KIT CONSTRUCTION    AXIS BANK            GROUND FLOOR, WELCOME COURT
                             SERVICES, INC                            COMPLEXSECUNDERABAD500017 IN
  04/12/2017       300.00    KIT PROFESSIONALS   STATE BANK OF        O.U.CAMPUS,HYDERABADHYDERA
                             INC                 HYDERABAD            BAD URBANIN
  01/02/2018      4,832.79   KIT CONSTRUCTION    STATE BANK OF        ARTS COLLEGE
                             SERVICES, INC       INDIA                PREMISESHYDERABADHYDERABA
                                                                      D URBANIN
  09/28/2018      1,658.61   KIT CONSTRUCTION    STATE BANK OF        ARTS COLLEGE
                             SERVICES, INC       INDIA                PREMISESHYDERABADHYDERABA
                                                                      D URBANIN
  09/09/2019      9,955.00   KIT CONSTRUCTION    ICICI BANK LIMITED   1-11-256, STREET NO 1, BEGUMPET,
                             SERVICES, INC                            HYHYDERABADIN


Ex. 3. The Kalagas “have over the years demonstrated their sophistication and

ability in using the wires to transfer large amounts of money internationally and

deceptively for their own gain,” and the “concern they would do so again absent an




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injunction is well-founded and based on past experience.” A.T.N. Indus., 2014 U.S.

Dist. LEXIS 200662, at *62.

      Moreover, since the termination of D’Agostino, the Kalaga Defendants have

worked to conceal and dissipate any funds beyond the reach of TIC. This includes

draining multiple bank accounts post-September 2019 anywhere from 48% to over

96%, with some of those funds having already disappeared to offshore accounts in

India. The closing or draining of bank accounts since TIC has become aware of the

fraud constitutes a “real threat of dissipation.” Id.

      Further, as described in detail above, the Kalaga corporate defendants have

actively sought to dissipate corporate assets, through the payment of excessive

bonuses to employees exorbitantly above the amount of previous years’ bonuses

paid, and the pre-payment of corporate taxes to place funds beyond the reach of TIC,

in the amount of $1.8 million in payments to the IRS and $627,558.67 for purported

employee bonuses. Pollack Decl. at ¶ 36. These types of excessive corporate

payments following plaintiff’s commencement of a lawsuit are precisely the type of

injury that courts have found sufficient as irreparable injury to grant a preliminary

injunction. See Jieyi Elecs. Co. v. Case Indus., No. 5:14-cv-01996, 2015 U.S. Dist.

LEXIS 62173, at *8 (N.D. Ohio May 12, 2015) (finding defendants’ payment of

excessive salaries, increased travel expenses, and personal credit lines as evidence

supporting granting a preliminary injunction freezing defendants’ bank


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accounts). The Kalaga Defendants have exhibited business acumen in creating,

coordinating, and utilizing various corporate entities to conceal and siphon off

proceeds of their fraud, and they are likely to continue doing so absent judicial

intervention.

         TIC Has a Substantial Likelihood of Success on the Merits Because
         There is No Genuine Dispute that Defendants Engaged in a Bribery
         and Bid-Rigging Fraud Scheme, and that Sudhakar Kalaga Refused
         to Testify About It.

      To establish a likelihood of success on the merits, a plaintiff’s evidence does

not need to satisfy a summary judgment standard; the plaintiff need only to present

a prima facie case to show a likelihood of success. See Janvey, 647 F.3d at 595–96.

However, the evidence gathered to date, as well as Sudhakar Kalaga’s refusal to

answer questions about the fraud, shows there is no genuine dispute that the Kalaga

Defendants engaged in a bribery and bid-rigging scheme to defraud TIC out of

$109 million.

           A. There is No Genuine Dispute that Sudhakar Kalaga, Jaya
              Kalaga, KIT Construction, and KIT Professionals Paid at least
              $5.5 Million in Cash Bribes to Pablo D’Agostino from 2011
              to 2019.

      There is no genuine dispute that Sudhakar Kalaga and Jaya Kalaga paid at

least $5.5 million in cash bribes to Pablo D’Agostino through KIT Construction and

KIT Professionals.   These cash payments have been independently confirmed

through KIT Construction’s own bank statements produced by Bank of America in



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response to a subpoena from TIC.          The cash bribes were paid from KIT

Construction’s Bank of America account ending in -3327. See Exs. 24–25. KIT

Professionals also issued IRS 1099s in 2011 and 2012 for these payments. See ECF

No. 30-2 (Declaration of Neil Melms); Ex. 26 (redacted tax documents).

      In an effort to conceal the fact that the bribes were for Pablo D’Agostino, the

checks issued from 2013 to 2015 were made out to Pablo D’Agostino’s then-wife

Melissa D’Agostino. Pablo was married to Melissa D’Agostino from 2003 until

they divorced in 2015. See ECF No. 24-7 (Divorce Agreement between Pablo and

Melissa D’Agostino). Some of the bribery checks were signed by Sudhakar and

others were signed by Jaya. Sudhakar and Jaya issued the checks roughly once a

month in round dollar amounts ranging from $20,000 to $180,000. See Ex. 24.

      Here is an example of a bribery check signed by Sudhakar Kalaga:




      Here is an example of a bribery check signed by Jaya Kalaga:




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Ex. 24. The check memos written by Sudhakar and Jaya claim that the checks are

for “Business Development in South and Latin America.” In fact, in some months,

Sudhakar and Jaya wrote that the check was a “Bonus for Business Development.”

The check memos are lies. No business was ever developed in South or Latin

America by Melissa D’Agostino. The only “business” ever “developed” by Pablo

D’Agostino or his ex-wife Melissa was from TIC in Houston through a fraudulent

bid-rigging scheme targeting TIC. The bank records show that TIC was KIT

Construction’s only source of revenue from 2013 to 2019 — approximately

$83 million in revenue. There were no South American clients. All of TIC’s checks

to KIT Construction were deposited in the Bank of America accounts ending

in -3327 and -9169, and account -3327 was used by Sudhakar and Jaya to pay the

bribes to Pablo.

      The following table lists the bribery checks issued to Melissa D’Agostino by

Sudhakar and Jaya Kalaga from KIT Construction’s bank account:




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 Check                                                                 Check          Check
                                Check Memo                                                         Amount ($)
   #                                                                    Date        Signatory
  2083    Business Development in South & Latin America               01/14/13   Sudhakar Kalaga     20,000.00
  2093    Business Development in South & Latin America               02/28/13   Jaya Kalaga         20,000.00
  2080    FY 2013 Q1 Bonus for Business Development                   03/04/13   Jaya Kalaga         50,000.00
  2081    Business Development in South & Latin America               04/01/13   Sudhakar Kalaga     20,000.00
  2100    Business Development in South & Latin America               04/30/13   Jaya Kalaga         20,000.00
  2102    Business Development in South & Latin America               05/17/13   Sudhakar Kalaga     20,000.00
  2103    FY 2013 Q2 Bonus for Business Development                   05/17/13   Sudhakar Kalaga     50,000.00
  2109    Pass thru Cost for Business Development in South & Latin               Sudhakar Kalaga     57,207.44
          Am.                                                         06/12/13
  2110    July 2013 Business Development in South & Latin America     06/12/13   Sudhakar Kalaga     20,000.00
  2111    August 2013 Business Development in South & Latin America   06/12/13   Sudhakar Kalaga     20,000.00
  2112    Sept 2013 Business Development in South & Latin America     06/12/13   Sudhakar Kalaga     20,000.00
  2121    FY 2013 Q3 Bonus for Business Development                   07/16/13   Sudhakar Kalaga     50,000.00
  2129    FY 2013 Bonus for Business Development                      08/13/13   Sudhakar Kalaga    100,000.00
  2136    FY 2013 Bonus for Business Development                      09/27/13   Sudhakar Kalaga    150,000.00
  2143    November 2013 Business Development in South & Latin Am.     11/05/13   Jaya Kalaga         20,000.00
  2147    December 2013 Business Development in South & Latin Am.     11/25/13   Sudhakar Kalaga     20,000.00
  2148    2013 Q4 Bonus for Business Development                      12/19/13   Sudhakar Kalaga     63,000.00
  2149    FY 2013 Business Development in South & Latin America       12/20/13   Sudhakar Kalaga    180,000.00
  2151    January 2014 Business Development in South & Latin                     Sudhakar Kalaga     20,000.00
          America                                                     12/31/13
  2158    February Business Development in South & Latin America      01/28/14   Sudhakar Kalaga     20,000.00
  2162    March 2014Business Development in South & Latin America     02/25/14   Jaya Kalaga         20,000.00
  2161    Q1 2014 Bonus Business Development in South & Latin                    Sudhakar Kalaga    150,000.00
          America                                                     03/11/14
  2165    April 2014 Business Development in South & Latin America    03/19/14   Sudhakar Kalaga     35,000.00
  2172    May-Jun-Jul 2014 Business Development in South & Latin                 Sudhakar Kalaga    105,000.00
          Am.                                                         04/22/14
  2190    Q2 2014Bonus Business Development in South & Latin                     Sudhakar Kalaga     50,000.00
          America                                                     06/12/14
  2204    Aug-Sep-Oct 2014 Business Development in South              07/22/14   Jaya Kalaga         105,000.00
  2222    Nov 2014 Business Development in South & Latin A            10/01/14   Sudhakar Kalaga      35,000.00
  2224    December 2014 Business Development in South & Latin Am.     10/01/14   Sudhakar Kalaga      70,000.00
  2235    2014 Bonus for Business Development in South & L            12/17/14   Sudhakar Kalaga     100,000.00
  2245    2015 Jan thru Mar Business Development in South &           01/05/15   Sudhakar Kalaga     105,000.00
                                                                                 TOTAL             1,715,207.44


These checks were deposited into the joint bank account held by both Pablo and

Melissa D’Agostino. See Ex. 24.

         Finally, even though Bank of America’s records only go back to 2013, Pablo

and Melissa’s joint income tax returns provided by their accountant, Neil Melms,

show that Melissa reported 1099 income of $240,000 from KIT Professionals in

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2011 and $360,000 from KIT Professionals in 2012. See Ex. 26; ECF No. 30-2

(Declaration of Neil Melms). Prior to 2011, the year KIT Construction was formed

and began doing work at TIC, there were no 1099 payments reported to Pablo or

Melissa. See id. Therefore, the total bribe payments paid to Pablo D’Agostino

through Melissa D’Agostino by KIT Construction and KIT Professionals is

$2,315,207. See Exs. 24, 26.

      After Pablo and Melissa divorced in 2015, it is undisputed that KIT

Construction began paying Pablo cash bribes directly through his shell company,

January 22 1992, LLC. According to Texas public records, January 22 1992, LLC

was incorporated in 2015, and Pablo D’Agostino is the registered agent and sole

member of the entity. See Ex. 27. The purpose of the shell company was to disguise

the recipient of the payments. The Bank of America records show that KIT

Construction made these payments to Pablo from 2015 until 2019. Some of the

bribery checks were signed by Sudhakar and others were signed by Jaya. Sudhakar

and Jaya Kalaga issued these checks roughly once a month in round dollar amounts

ranging from $50,000 to $265,000. See Ex. 25.

      Here is an example of a bribe check to Pablo’s company signed by Sudhakar

Kalaga:




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      Here is an example of a bribe check to Pablo’s company signed by Jaya

Kalaga:




Ex. 25. The check memos written by Sudhakar and Jaya claim that the checks are

for “Business Development.” Once again, the only business Pablo was developing

for the Kalagas was the $109 million bid-rigging fraud scheme at TIC. The total

documented amount of bribe payments paid to Pablo by KIT Construction from

April 2015 to September 2019 was $3,820,000. See Ex. 25.

      The following table lists the bribe checks made out to Pablo’s company

January 22 1992, LLC by Sudhakar and Jaya from KIT Construction’s bank account:


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 Check                                                              Check         Check
                                  Memo                                                         Amount ($)
   #                                                                 Date       Signatory
  2308    Business Development 2015 Apr thru Jun                  04/10/15   Sudhakar Kalaga     105,000.00
  2318    Bonus Business Development 2015                         05/12/15   Sudhakar Kalaga      50,000.00
  2334    Business Development 2015 Jul thru Aug                  07/09/15   Sudhakar Kalaga     105,000.00
  2330    Bonus Business Development 2015                         08/12/15   Sudhakar Kalaga      75,000.00
  2354    Additional Business Development 2015 - KCSI - 15 - IN   09/16/15   Sudhakar Kalaga     150,000.00
  2356    Business Development 2015 Oct thru Dec - KCSI - 15      10/01/15   Sudhakar Kalaga     105,000.00
  2360    Bonus Business Development 2015 - KCSI-15-INV#          11/19/15   Sudhakar Kalaga      75,000.00
  2375    Business Development 2016 Jan thru Mar - KCSI-16        01/04/16   Sudhakar Kalaga     105,000.00
  2393    No Memo                                                 03/14/16   Sudhakar Kalaga     155,000.00
  2405    Bonus Business Development 2016 - KCSI-16-INV#          04/25/16   Sudhakar Kalaga      75,000.00
  2416    Business Development 2016 Jul thru Sep - KCSI-16-       05/31/16   Sudhakar Kalaga     105,000.00
  2432    Business Development 2016 Oct thru Dec - KCSI-16        08/08/16   Sudhakar Kalaga     105,000.00
  2443    Bonus Business Development 2016 - KCSI-16-IN            11/09/16   Sudhakar Kalaga     100,000.00
  2452    Bonus Business Development 2017 Jan Thru Mar- KCSI-17   01/04/17   Jaya Kalaga         105,000.00
  2461    Business Development 2-17 Apr thru Jun - KCSI-17        03/27/17   Sudhakar Kalaga     105,000.00
  2479    Business Development 2017 - Jul thru Sept KCSI-17       05/25/17   Sudhakar Kalaga     105,000.00
  2508    2017 Business Development Oct thru Dec - KCSI-17        09/06/17   Jaya Kalaga         105,000.00
  2521    Bonus Business Development for 2017                     10/25/17   Sudhakar Kalaga     100,000.00
  2535    Business Development for 2018                           12/18/17   Sudhakar Kalaga     265,000.00
  2541    2018 Q1                                                 01/19/18   Sudhakar Kalaga     105,000.00
  2545    Business Development for 2018 - KCSI - 18-INV # 03      01/29/18   Sudhakar Kalaga     132,500.00
  2548    Business Development for 2018 - KCSI - 18-INV # 04      02/05/18   Sudhakar Kalaga     117,500.00
  2561    Business Development 2018 Apr thru Jun - KCSI-18-       03/14/18   Sudhakar Kalaga     205,000.00
  2563    Bonus Business Development for 2018 - KCSI - 18-INV#    04/03/18   Sudhakar Kalaga     100,000.00
  2572    Business Development 2018 Jul thru Sep - KCSI-18-       05/16/18   Sudhakar Kalaga     185,000.00
  2586    Business Development 2018 Oct thru Dec - KCSI-18        07/26/18   Sudhakar Kalaga     105,000.00
  2581    Business Development 2018                               10/01/18   Sudhakar Kalaga     105,000.00
  2630    Bonus Business Development 2019 Jan thru Mar - K        01/03/19   Sudhakar Kalaga     105,000.00
  2629    Business Development 2019 Jan thru Mar - KCSI-19        01/04/19   Sudhakar Kalaga     250,000.00
  2651    Business Development 2019 Apr thru Jun - KCSI-19-       03/21/19   Sudhakar Kalaga     105,000.00
  2654    Business Development 2019 Jul thru Sep - KCSI-19-       06/04/19   Sudhakar Kalaga     105,000.00
  2677    Business Development 2019 Oct thru Dec - KCSI-19        09/03/19   Sudhakar Kalaga     105,000.00
                                                                             TOTAL             3,820,000.00

See Ex. 25. Through the Bank of America records and Pablo’s tax returns obtained

through discovery, TIC has obtained documentary proof that Defendants Sudhakar

and Jaya Kalaga paid Pablo D’Agostino $6,135,207 in bribes from 2011 to 2019.

         Sudhakar has no defense or explanation for these payments. During his

deposition by written questions on January 3, 2020, he refused to answer any



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questions about the cash bribes he paid to D’Agostino. As a result, TIC is entitled

to an adverse inference against Sudhakar Kalaga, KIT Construction, and KIT

Professionals.   Sudhakar was asked the following questions related to these

payments:

    13:19–24: How much money did KIT Construction and KIT Professionals
     pay to Melissa D’Agostino and January 22, 1992, LLC?
    12:21–13:1: Tell me about all the services that Pablo D’Agostino’s ex-wife,
     Melissa D’Agostino provided to KIT Professionals and KIT Construction.
    13:2–6: Did KIT Professionals and KIT Construction issue IRS 1099s in the
     name of Melissa D’Agostino?
    13:7–12: Did KIT Professionals and KIT Construction issue IRS 1099s in the
     name of Pablo D’Agostino or his company January 22, 1992, LLC?
    13:13–18: Please describe in detail anything of value you and your companies
     ever gave to Pablo D’Agostino, including any gifts, cash, or real estate.
    10:24–11:5: Did you give Pablo D’Agostino kickbacks in exchange for him
     insuring that KIT Professionals and KIT Construction were awarded contracts
     by Toshiba International Corporation?
See Ex. 28. Sudhakar refused to answer any of these questions, including whether

he even knew Pablo D’Agostino, stating, “On the advice of Counsel, I invoke my

5th Amendment privilege against self-incrimination and respectfully decline to

answer.” See generally id. Based on his refusal to answer questions directly on

point about the bribes he paid to D’Agostino, the Court should make an adverse

inference against the Kalaga Defendants.

      The Court should also reject any attempt by the Kalagas to provide a defense

for these payments unless Sudhakar and Jaya Kalaga testify. See, e.g., Hinojosa v.



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Butler, 547 F.3d 285, 291–92 (5th Cir. 2008) (finding the district court erred when

it failed to draw an adverse inference against the defendant after the defendant

refused to answer any questions relevant to the claims against him); Midwest

Feeders, Inc. v. Bank of Franklin, 114 F. Supp. 3d 419, 431 (S.D. Miss. 2015), aff’d,

886 F.3d 507 (5th Cir. 2018) (drawing an adverse inference against the bank after

its corporate agent invoked his personal Fifth Amendment privilege in refusing to

answer specific questions at his deposition about the bank’s participation in the

conspiracy); Gulf Coast Bank & Tr. Co. v. Stinson, No. 2:11-CV-88-KS-MTP, 2013

WL 30136, at *5 (S.D. Miss. Jan. 2, 2013) (drawing an adverse inference against the

defendant for invoking his Fifth Amendment privilege in refusing to respond to a

substantial number of questions about the fraud claim against him at his deposition).

           B.   There is No Genuine Dispute that Sudhakar Kalaga, Jaya
                Kalaga, SKBP Ventures, LLC, and SVSRK Enterprises, LLC
                Bribed Pablo D’Agostino By Giving Him at Least 18 Properties
                Worth Almost $4 million.

      There is no genuine dispute that Sudhakar Kalaga bribed Pablo D’Agostino

by deeding to him at least eighteen properties, including single family homes,

condominiums, and vacant lots, worth almost $4 million in 2018. Eight of these

properties were recorded by D’Agostino before his suicide (ECF No. 24-3 (first eight

properties)) and the other ten were transferred by Kalaga but not recorded by

D’Agostino (See Ex. 29). Four transfers occurred on July 27, 2018, and fourteen

transfers occurred on December 12, 2018. See id. The total value of those eight

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recorded properties is in excess of $2 million, and no mortgage exists on the

properties worth almost $4 million because they were paid for in cash by the Kalagas

using the proceeds of the fraud and gifted to D’Agostino. See ECF No. 24-3 (Deeds

for Properties Owned by D’Agostino and PD Rentals); ECF No. 24-10 (First 8

properties of 2019 County Property Assessments of Properties Owned by

D’Agostino and PD Rentals).

          Kalaga’s lawyer, Joe Enis, sent 14 separate letters to D’Agostino enclosing

warranty deeds signed and notarized by Sudhakar Kalaga, on December 12, 2018,

on behalf of SKBP transferring the properties to Pablo D’Agostino through Pablo’s

company PD Rentals. See Ex. 29. The bribe properties Kalaga gave to D’Agostino

are the following:

                                                            Date of Transfer   2019 Assessed Value
    No.   Property Address2
                                                            to PD              (County Assessor's Office)
    1     15 Fairlee Ct., Magnolia, TX 77354-3283*          7/27/2018          $173,810
    2     255 Bloomhill Pl., Magnolia, TX 77354-3278*       12/12/2018         $181,250
    3     303 Bloomhill Pl., Magnolia, TX 77354-3280*       12/12/2018         $184,380
    4     331 Bloomhill Pl., Magnolia, TX 77354-3280*       12/12/2018         $182,980
    5     11705 Grandview Dr., Montgomery, TX 77356-4296*   7/27/2018          $63,350
    6     2207 Bancroft St #1201, Houston, TX 77027-3729*   7/27/2018          $742,036
    7     102 Winterport Cir., Spring, TX 77382-1141*       7/27/2018          $219,010
    8     21026 White Shore Ln., Spring, TX 77379-327*6     12/12/2018         $175,500
    9     54 Blue Creek Pl., Spring, TX 77382-1779          12/12/2018         $188,100
    10    21219 Fire Wind Ct., Spring, TX 77379-8253        12/12/2018         $193,158
    11    22402 Spring Crossing Dr., Spring, TX 77373       12/12/2018         $173,299
    12    1007 Lamson Ct., Spring, TX 77373-8060            12/12/2018         $197,000
    13    26 Whitekirk Pl., Magnolia, TX 77354-3276         12/12/2018         $204,750
    14    43 Verbena Bend Pl., Spring, TX 77382-2303        12/12/2018         $187,220
    15    23106 Oxbow Trail, Spring, TX 77373-8144          12/12/2018         $185,000
    16    734 Beckets Crossing Ln., Spring, TX 77373-8100   12/12/2018         $185,003
    17    22526 Goss Spring Ct., Spring, TX 77373-2295      12/12/2018         $194,365
    18    706 Beckets Crossing Ln., Spring, TX 77373-8100   12/12/2018         $186,261
    Total Value of Properties Transferred to PD:                               $3,816,472

2
    The properties marked with an asterisk were transferred and recorded.

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See Exs 29–30; ECF No. 24-3 (Deeds for Properties Owned by D’Agostino and PD

Rentals); ECF No. 24-10 (First 8 properties of 2019 County Property Assessments

of Properties Owned by D’Agostino and PD Rentals).

      Sudhakar has no defense for these bribe property transfers because during his

deposition by written questions on January 3, 2020, Sudhakar refused to answer any

questions about the properties he gave to D’Agostino. See Ex. 28. In addition,

during the TRO hearing in December, Rusty Hardin represented to the Court that

Kalaga and D’Agostino had a real estate investment business together and the

properties were transferred to D’Agostino so he could have an easier time evicting

tenants. See Dec. 9, 2019 Hearing Transcript 70:18–71:21. Kalaga was asked about

this “defense” at his deposition, and he refused to answer the questions. See Ex. 28

at 12:8–20.

      During his deposition, Kalaga was asked the following questions about the

bribe property transfers:

    9:2–10: At the December 9, 2019 hearing, your counsel Rusty Hardin
     represented to the Court that Mr. D’Agostino and Mr. Kalaga set up a real
     estate investment company. What are the names of all the real estate
     investment companies you set up with Pablo D’Agostino?
    9:11–16: Please describe in detail all the properties [your real estate
     investment companies with Mr. D’Agostino invested in].
    10:15–23: Please take a look at paragraph 34, which states, “in the last half
     of 2018 alone Kalaga transferred eight properties from this company, SKBP
     Ventures to D’Agostino’s company, PD Rentals.” How many properties did
     SKBP Ventures transfer to Mr. D'Agostino's company, PD Rentals?

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    11:6–14: At the December 9, 2019 hearing, your counsel Rusty Hardin
     represented to the Court that you used your cash to buy the eight properties
     that you transferred to PD Rentals in 2018. Why did you use your cash to
     buy the eight properties that you transferred to PD Rentals in 2018?
    11:15–12:1: I’m handing you Composite Exhibit 3 containing eight deeds
     for the transfer of properties from SKBP Ventures LLC to PD Rentals of
     2018 . . . For each of the eight deeds please tell me if that is your signature
     above your name Sudhakar Kalaga?
    12:2–7: How much did you or your companies receive in payment from
     Pablo D’Agostino or PD Rentals in exchange for the transfer of eight
     properties?
    12:8–20: At the December 9, 2019 hearing, your counsel Rusty Hardin
     represented to the Court that you transferred the eight properties to PD
     Rentals in 2018 because Pablo D’Agostino was managing the homes for you
     but he did not have the power to evict anybody because the properties were
     not in his name. Did you transfer the eight properties to PD Rentals in 2018
     because Pablo D’Agostino was managing the homes for you but he did not
     have the power to evict anybody because the properties were not in his name?
See Ex. 28. Sudhakar refused to answer any of these questions, stating, “On the

advice of Counsel, I invoke my 5th Amendment privilege against self-incrimination

and respectfully decline to answer.” See generally id.

      As a result, TIC is entitled to an adverse inference against Sudhakar and

SKBP, and Kalaga should not be permitted to rely on an invented defense that he

refuses to testify about. See Davis-Lynch, Inc. v. Moreno, 667 F.3d 539, 547 (5th

Cir. 2012), as revised (Jan. 12, 2012) (holding that a party may not withdraw his

Fifth Amendment invocation if the party is trying “abuse, manipulate or gain an

unfair strategic advantage over opposing parties.”); see also Nationwide Life Ins. Co.

v. Richards, 541 F.3d 903, 910 (9th Cir. 2008) (preventing the defendant from



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testifying about her husband’s murder at summary judgment after she had previously

invoked her Fifth Amendment privilege on that subject-matter because “[a]

defendant may not use the fifth amendment to shield herself from the opposition’s

inquiries during discovery only to impale her accusers with surprise testimony at

trial.” (citations omitted)).

            C. There is No Genuine Dispute that Sudhakar and Jaya Kalaga
               Bought Luxury Goods and 100 Ounce Silver Bars for Pablo
               D’Agostino.
       There is no genuine dispute that Sudhakar and Jaya Kalaga provided

additional bribes to Pablo D’Agostino that took a number of forms, including:

           purchasing multiple vehicles for him,

           letting him live rent free at the $2 million Arabella condominium

              owned by Kalaga’s company SVSRK,

           gifting him an $85,000 leopard skin as a birthday present,

           gifting him luxury watch accessories such as watch winders for the

              expensive watches Kalaga gave to him,

           purchasing multiple safes worth nearly $50,000 for D’Agostino, and

           bribing him with 100 ounce bars of silver.

See Exs. 23, 31–34; ECF No. 24-4 (Deed for Arabella condominium at 4521 San

Felipe Street).




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      Sudhakar Kalaga also generally acted as D’Agostino’s personal shopper. As

an example, on March 7, 2012, D’Agostino sent an e-mail to Kalaga asking him to

contact his friend at the jewelry store and order Swarovski and Lladro items for him.

Kalaga immediately called the store, Karat 22, and arranged for delivery of the items.

Kalaga informed D’Agostino on April 4, 2012, that they would be delivered by

FedEx the following Monday, and promised to give them to D’Agostino at dinner

that day. See Ex. 35. Kalaga also ordered merchandise from luxury menswear

fashion brand, Ermenegildo Zegna, for D’Agostino (See Ex. 36) and household

items totaling $14,867 for D’Agostino’s personal use from Sur La Table (See

Ex. 37).

      Jaya was also heavily involved in providing bribes to D’Agostino. In addition

to signing the bribery checks (See Exs. 24–25), e-mails show that Jaya was also

involved in the selection of gifts to D’Agostino. For example, Kalaga sent an e-mail

to Jaya Kalaga on February 15, 2011, with D’Agostino’s comment about a Girrard

Perragaux watch they had given to him. Kalaga wrote to Jaya Kalaga, “Looks like

he really liked the other one. . . .which we did not get.” See Ex. 38. Later that year,

on November 22, 2011, Kalaga purchased watch winders for D’Agostino for $3,100

and sent an e-mail to co-conspirator Vinod Vemparala showing him the gift he had

purchased for D’Agostino. See Ex. 33.




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      Sudhakar has no defense for these bribes to Pablo D’Agostino because during

his deposition by written questions on January 3, 2020, Sudhakar refused to answer

any questions about the gifts he gave to D’Agostino. See generally Ex. 28. As a

result, TIC is entitled to an adverse inference against Sudhakar. See GE Capital

Commercial Inc. v. Wright & Wright Inc., No. CIV.A. 3:09-CV-572-L, 2009 WL

1148235, at *3 (N.D. Tex. Apr. 28, 2009) (drawing adverse inferences against the

defendant at the preliminary injunction hearing when the defendant invoked his Fifth

Amendment privilege to avoid answering any questions at his deposition about the

claims against him).    During his deposition, Kalaga was asked the following

questions about his gifts to D’Agostino:

    13:13–18: Please describe in detail anything of value you and your companies
     ever gave to Pablo D’Agostino, including any gifts, cash, or real estate.
    6:18–24: I am handing you Exhibit 1, a receipt for two safes that you
     purchased for Pablo D’Agostino totaling over $14,000. Why did you purchase
     safes for Pablo D’Agostino?
See id. Sudhakar refused to answer any of these questions, stating, “On the advice

of Counsel, I invoke my 5th Amendment privilege against self-incrimination and

respectfully decline to answer.” See generally id. As a result, the Court should

make an adverse inference against Kalaga and find that the gifts were bribes paid

to D’Agostino in furtherance of the fraud scheme against TIC.




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           D. There is No Genuine Dispute that Sudhakar Kalaga, Jaya
              Kalaga, KIT Professionals, and KIT Construction Rigged Bids
              and Submitted Fake Bids with Vinod Vemparala and Pablo
              D’Agostino.

      Sudhakar Kalaga, Jaya Kalaga, KIT Professionals, and KIT Construction

conspired with Pablo D’Agostino and Vinod Vemparala to submit at least 70 fake

bids to TIC from 2010 to 2019. Vinod Vemparala admitted to this scheme when he

agreed to be interviewed by David Frizell and Tom Kiefer, investigators working for

TIC’s counsel.   See generally Declaration of David Frizell (March 23, 2020)

(“Frizell Decl.”) (attached as Exhibit 39). Vemparala met Kalaga in college in India

and they have remained friends. See id. at ¶ 6. Vemparala met D’Agostino through

Kalaga, and he visited with D’Agostino several times in person over the years. See

id. at ¶ 7. V2V Solutions is a company owned by Vemparala, and it has no presence

in Houston, Texas and it has no employees. See id. at ¶¶ 8, 16; Ex. 40. From 2011

to 2019, acting under the direction of Kalaga, Vemparala created and submitted bids

for TIC construction projects under the name of V2V Solutions. See id. at ¶¶ 9–11.

Vemparala’s own admissions and e-mails produced by KIT Professionals and KIT

Construction show that to coordinate the submission of fake bids, Kalaga provided

Vemparala with KIT’s bid for a particular TIC project, and Vemparala added a

markup for his own expenses and profit and then submitted the bid under V2V

Solutions’ name. See id. at ¶ 10. Vemparala would then prepare a second bid under

the name of Sermeg. See id. at ¶ 14. Sermeg was a company Vemparala made up

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using his sister Gita Vemparala’s address in Georgia, but the company was not

registered and it did not actually operate. See id. at ¶¶ 14–15. Vemparala prepared

and submitted the Sermeg bids personally and affixed his father’s signature, V.N.

Murthy, by using a handwriting style font on his word processing software. See id.

at ¶ 15.

       Vemparala did not prepare every V2V Solutions and Sermeg bid that was

submitted to TIC. Kalaga himself prepared bids using V2V Solutions’ name, and

he submitted them to TIC personally. See id. at ¶ 12. The bids submitted by

Vemparala to TIC under the names of V2V Solutions and Sermeg were an integral

part of the conspiracy to defraud TIC, because Vemparala ensured that his bids were

always higher than those submitted by Kalaga under KIT’s name. In this way,

Vemparala’s role helped ensure that TIC’s management would conclude that three

companies, KIT, V2V Solutions, and Sermeg, bid on a project and that KIT was the

lowest bidder.

       Jaya also played a critical role in the conspiracy separate and apart from her

husband’s. For example, on April 21, 2015, Jaya forwarded to Sudhakar a fake bid

from Sermeg for installation of a fire notification system in the amount of $575,500.

See Ex. 41.




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      The following is a list of some of the projects that KIT was awarded by TIC

in reliance upon the fake bids that Sudhakar, Jaya, Vemparala, and D’Agostino

prepared and submitted to TIC:

                                         Requisition            Amount
Winner   Fake Bidders                    Date            PO#    (USD)
 KIT     Y2Y (V2V)                          3-Nov-2010 905413       48,000.00
 KIT     V2V, OnePoint                     21-Nov-2011 906748      601,825.00
 KIT     SER, Reytec                          2-Jul-2012 907379 16,250,000.00
 KIT     V2V, SER                           9-May-2013 908352       61,425.00
 KIT     V2V                              21-May-2013 908402       135,500.00
 KIT     V2V                                 4-Jun-2013 908455     850,000.00
 KIT     V2V                                 4-Jun-2013 908453     450,000.00
 KIT     V2V, SER                            6-Jun-2013 908454     749,500.00
 KIT     V2V                                17-Jun-2013 908485     180,000.00
 KIT     V2V                                24-Jun-2013 908502      68,500.00
 KIT     V2V                                27-Jun-2013 908519      70,000.00
 KIT     V2V                                11-Jul-2013 908558     659,050.00
 KIT     V2V                                1-Aug-2013 950003       40,000.00
 KIT     V2V                               12-Aug-2013 950051       85,550.00
 KIT     V2V                               12-Aug-2013 950052       16,950.00
 KIT     V2V                               12-Aug-2013 950053       12,650.00
 KIT     V2V                               19-Aug-2013 950090       70,000.00
 KIT     V2V                               21-Aug-2013 950107       70,000.00
 KIT     V2V                               21-Aug-2013 950108       60,000.00
 KIT     V2V                               27-Aug-2013 905127       72,500.00
 KIT     V2V                               29-Aug-2013 950140      135,750.00
 KIT     V2V                               30-Sep-2013 950255       38,652.00
 KIT     V2V                                 1-Oct-2013 950279      61,350.00
 KIT     V2V, OnePoint, A&A                  7-Oct-2013 950527     550,000.00
 KIT     V2V, Construction Masters         13-Nov-2013 950437       93,865.00
 KIT     V2V                                 3-Dec-2013 950464      80,000.00
 KIT     V2V                                 3-Dec-2013 950465       8,000.00
 KIT     V2V                                 3-Dec-2013 950466      55,000.00
 KIT     Sermeg, SER                          9-Jan-2014 950532    535,000.00
 KIT     V2V, Sermeg                       18-Feb-2014 950634      275,000.00
 KIT     V2V, Sermeg                       18-Feb-2014 950635      150,000.00
 KIT     Sermeg, PIE                       19-Feb-2014 950637      225,000.00

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KIT   Sermeg                             24-Mar-2014     950683     50,000.00
KIT   V2V                                25-Mar-2014     950684     64,500.00
KIT   V2V, Sermeg                        11-Apr-2014     950724     76,500.00
KIT   V2V, Sermeg                        23-Apr-2014     950747     76,250.00
KIT   V2V, Sermeg                          9-Jun-2014    950833    380,000.00
KIT   V2V, Sermeg                         23-Jun-2014    950864     95,500.00
KIT   V2V, Sermeg                         23-Jun-2014    950865     58,900.00
KIT   V2V, Sermeg                         23-Jun-2014    950866     34,850.00
KIT   V2V, Sermeg                         23-Jun-2014    950867     32,503.00
KIT   V2V, Sermeg                         23-Jun-2014    950868     28,255.00
KIT   V2V, Sermeg                         23-Jun-2014    950869     29,375.00
KIT   V2V, Sermeg                         23-Jun-2014    950870     32,900.00
KIT   V2V, Sermeg                         23-Jun-2014    950863     98,600.00
KIT   V2V, Sermeg                         30-Jun-2014    950880     26,789.00
KIT   V2V, Sermeg                           7-Jul-2014   950888     36,900.00
KIT   V2V, Sermeg                           7-Jul-2014   950889     16,250.00
KIT   V2V, Sermeg                         29-Jul-2014    950937    260,000.00
KIT   V2V, Sermeg                         29-Jul-2014    950938    270,000.00
KIT   V2V, Sermeg                         29-Jul-2014    950936    376,000.00
KIT   V2V, Sermeg                         29-Jul-2014    951036    160,000.00
KIT   V2V, Sermeg                         29-Jul-2014    950950    200,000.00
KIT   V2V, Sermeg                         6-Aug-2014     950942    168,900.00
KIT   V2V, Sermeg                        18-Aug-2014     950964    184,000.00
KIT   V2V, Sermeg                          4-Sep-2014    950981     58,000.00
KIT   V2V, Sermeg                        11-Sep-2014     950989     55,500.00
KIT   V2V, Sermeg                          5-Dec-2014    951118    168,720.00
      V2V, OnePoint, A&A Premier,
KIT   Reytec                             29-Jan-2015 951184       1,680,000.00
KIT   V2V, Sermeg                        22-Apr-2015 951376         400,000.00
KIT   V2V, Sermeg                        22-Apr-2015 951375         250,000.00
KIT   V2V, Sermeg                        22-Apr-2015 951377         395,000.00
KIT   V2V, Sermeg                         30-Jul-2015 951433        898,150.00
KIT   V2V, PRV                           28-Oct-2015 951505         225,500.00
KIT   V2V, Sermeg                        11-Jan-2016 951568         245,000.00
KIT   V2V, Sermeg                        11-Jan-2016 951569         440,000.00
KIT   V2V, PRV, KD Benett                16-Feb-2016 7000559      1,775,000.00
KIT   PRV, KD Benett, Sermeg             17-Feb-2016 951603         749,500.00
KIT   V2V, PRV                            9-Nov-2016 7010663        404,692.00
      V2V, PRV, Redwood Builders,
KIT   OnePoint                           20-Apr-2017 7018425      4,550,825.00


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  KIT      V2V, PRV                            6-Jun-2018   7040067     75,000.00
  KIT      V2V, PRV                            6-Jun-2018   7040069     35,000.00
  KIT      V2V, PRV                            6-Jun-2018   7040070     90,000.00
  KIT      V2V, OnePoint                      17-Sep-2018   7045528     32,450.00
  KIT      V2V, OnePoint                      17-Sep-2018   7045529     41,550.00
                                                            TOTAL     $38,085,926


        KIT Construction handsomely rewarded Vemparala for submitting fake bids

in the name of V2V Solutions and Sermeg. For example, on December 18, 2013,

KIT Construction issued V2V Solutions a check for $150,000. See Ex. 21. Again,

on December 30, 2014, KIT Construction issued V2V Solutions a check for $80,000.

See id. Neither check had an entry line explaining the purposes of the payment, and

both were signed by Sudhakar Kalaga. Below is an example check made out to V2V

Solutions:




        Sudhakar has no defense for the fake bidding conspiracy with Vemparala and

V2V Solutions because Sudhakar refused to answer any questions about the fake

bids he prepared with Vemparala and D’Agostino. As a result, TIC is entitled to an


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adverse inference against Sudhakar Kalaga. See GE Capital Commercial Inc., 2009

WL 1148235, at *3. During his deposition, Kalaga was asked the following

questions about his conspiracy with Vinod Vemparala:

       14:24–15:2: How do you know Vinod Vemparala?
       14:12–23: I am handing you Exhibit 4, an e-mail from you to Pablo
        D’Agostino dated October 2, 2013 with the subject “V2V” attaching a
        bid for a motor plant roof study from V2V Solutions for $76,500 . . . Why
        did you send Pablo D’Agostino a bid from V2V Solutions?
       15:3–8: Did you ever prepare or direct someone to prepare a bid in the
        name of V2V Solutions for a project at Toshiba International
        Corporation?
       15:9–14: How many times did you send Pablo D’Agostino a bid from
        V2V Solutions for a project at Toshiba International Corporation?
       15:15–16:5: I am handing you Composite Exhibit 5, which are emails
        between you and Vinod Vemparala where you exchanging bid documents
        with him, and he is awaiting your approval for them to be finalized and
        sent to Toshiba International Corporation . . . In the email dated February
        13, 2016, titled “Bids,” Mr. Vemparala writes to you and says, “Mama,
        check these out carefully and let me know. I can finalize them today.”
        He attaches a purported bid from V2V and a company called Sermeg [ph]
        for new groundwater wells for Toshiba. Explain in detail why Vinod
        Vemparala asked you to check out carefully the Toshiba groundwater
        well bids from V2V and Sermeg.
See Ex. 28. Sudhakar refused to answer any of these questions, stating, “On the

advice of Counsel, I invoke my 5th Amendment privilege against self-incrimination

and respectfully decline to answer.” See generally id. As a result, the Court should

make an adverse inference against Kalaga and find that Kalaga, KIT Construction,

and KIT Professionals conspired to submit fake bids through V2V Solutions,

Sermeg, and Vinod Vemparala.


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           E.   There is No Genuine Dispute that KIT and Kalaga Marked Up
                the Cost of the TIC Projects by Between 50% to Over 300%.

      For the hundreds of TIC projects on which KIT Construction bid and was

selected to perform the work, KIT Construction did not actually do any construction

work itself nor did it have any employees capable of doing so.          Rather, it

“completed” projects at TIC by hiring LaGrone Services Limited (“LSI”) to work as

the general contractor, and in turn, LSI was the entity that would pay the

subcontractors who completed tasks that LSI could not complete on its own. See

generally Snell Decl. (ECF No. 31-6). KIT would obtain a price quote from LSI and

then mark the price up exorbitantly to invoice TIC, sometimes by more than 400%.

KIT’s involvement and extreme markup in these construction projects was

unnecessary, because LSI could have done all the work itself without KIT. LSI was

paid approximately $24 million by KIT for projects LSI completed at TIC between

2013 and 2019, while KIT was paid more than $95 million by TIC over

approximately the same period. See Second Kennon Decl. ¶ 9 (ECF No. 30-1); Snell

Decl. ¶ 26, Ex. 8 (ECF Nos. 31-6, 31-6-8).

      The below chart includes additional examples of TIC projects from 2015 to

2018 where KIT substantially marked up the price it was charged by LSI, who

actually performed the work:




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#   Date        Project                     G.C.         KIT          Price         Mark
                                            Price        Price        Difference    up
                                                                      (tax not
                                                                      included)
1   1/29/2015   TMPE office and           $ 1,100,465   $ 1,680,000   $ 579,535     53%
                manufacturing areas
                build out

2   3/14/2016   Fire water storage tank   $ 574,125     $ 1,775,000   $ 1,200,875   209%
                replacement

3   4/13/2017   Waste water treatment     $ 552,155     $ 1,095,000   $ 542,845     98%
                refurbishment

4   4/17/2017   HEV expansion (Phase      $ 1,232,879   $ 2,620,478   $ 1,387,599   113%
                II)
                (Building construction
                portion only, not
                including HVAC)

5   5/23/2018   Fire and water damage     $ 155,500     $ 405,000     $ 249,500     160%
                remediation and repair

See Exs. 42–45 (Projects #1, 3–5 KIT Price); ECF No. 24-23 (Project #2 KIT Price);

Snell Decl. ¶¶ 20–24, Exs. 3–7 (LSI business records for Projects # 1–5) (ECF Nos.

31-6, 31-6-3–7);

      Sudhakar has no defense for the extreme markups KIT Construction and KIT

Professionals charged to TIC. During his deposition, Kalaga refused to answer any

questions about the markups he was able to charge TIC as a result of the fake bid

and bribery scheme. As a result, TIC is entitled to an adverse inference against

Sudhakar and he should not be permitted to rely on an invented defense that he

refuses to testify about. During his deposition, Kalaga was asked the following

questions about the subcontractors he used and the markups he charged:


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    16:9–15: How did you calculate the price and the profit margin included in
     the KIT Construction proposals provided to Toshiba International
     Corporation?
    16:16–21: Name all the subcontractors you can remember ever using for KIT
     Construction and KIT Professionals projects at Toshiba International
     Corporation.
    16:22–17:3: What work did KIT Construction perform itself at Toshiba
     International Corporation that was not performed by a subcontractor hired by
     KIT Construction?
    17:4–20: I am handing you Composite Exhibit 6, which is a series of emails
     showing that Pablo D’Agostino had asked LSI to relocate a fan, a plastic wall,
     and a duct . . . The documents show that LSI quoted a price of $6898.11 for
     the work, including an 8 percent markup. You then emailed Pablo D’Agostino
     a separate quote for the plastic wall, the fan, and the duct totaling $19,800.
     How do you justify charging Toshiba International Corporation over $12,900
     more for the work than what LSI charged KIT Construction?
    17:21–18:11: I am handing you composite Exhibit 7, which contains your
     costs for remediation and repair of the fire and water damage that occurred at
     Toshiba International Corporation in May 2018 . . .The documents show that
     LSI charged KIT $155,500 and that KIT charged Toshiba International
     Corporation $405,000. What additional work did KIT do in this project to
     justify the $249,000 difference between what it cost you and what you charged
     Toshiba?
    18:12–22: Please look at paragraph 31 of the complaint, which is Exhibit 2.
     This paragraph identifies the difference between what KIT Construction
     charged Toshiba International Corporation and what LSI charged KIT for
     various projects from 2015 to 2018. Please tell me for each project how you
     account for the difference between KIT’s cost and the price charged to
     Toshiba.
See Ex. 28. Sudhakar refused to answer any of these questions, stating, “On the

advice of Counsel, I invoke my 5th Amendment privilege against self-incrimination

and respectfully decline to answer.” See generally id. As a result, the Court should

make an adverse inference against Kalaga, KIT Construction, and KIT Professionals



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and find that, as a result of the bribery and bid-rigging fraud, they charged TIC

excessive markups on the work that was done at TIC.

          There is Overwhelming Evidence in the Record Supporting Each of
          TIC’s Causes of Action to Establish a Substantial Likelihood of
          Success.

      TIC’s Amended Complaint includes highly detailed descriptions of

Defendants’ violations of the Racketeer Influenced & Corrupt Organization Act,

18. U.S.C. § 1961 et seq. (“RICO”) and Texas state law. TIC’s findings from its

ongoing investigation and from expedited discovery granted to prepare for this

Motion demonstrate a substantial likelihood of success on the merits for its claims.

See Janvey, 647 F.3d at 595–96; see also Kalsi Eng’g, Inc. v. Davidson, No. 4:14-

cv-01405, 2014 U.S. Dist. LEXIS 190052, at *6 n.2, *9–13 (S.D. Tex. Sept. 2, 2014)

(Hittner, J.) (granting plaintiff’s preliminary injunction because plaintiff

demonstrated a substantial likelihood of success for at least one claim other than

plaintiff’s RICO claim, which was not considered in the opinion). As shown below,

TIC demonstrates its likelihood of success on its RICO, breach of fiduciary duty,

knowing participation in breach of fiduciary duty, and constructive trust claims. TIC

submits that the same evidence described below also demonstrates a likelihood of

success on its other state-law claims for relief because they are all based on the same

unlawful conduct. See A.T.N. Indus. v. Gross, No. 4:14-cv-02473, 2014 U.S. Dist.

LEXIS 200662, at *50 (S.D. Tex. Nov. 26, 2014) (finding that a plaintiff need only


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show substantial likelihood of success for some claims to obtain a preliminary

injunction) (citing Nichols v. Alcatel USA, Inc., 532 F.3d 364, 378 (5th Cir. 2008)).

           A.      Civil RICO: 18 U.S.C. § 1962(c)

      To establish a RICO violation, a plaintiff must show: “(1) a person who

engages in (2) a pattern of racketeering activity, (3) connected to the acquisition,

establishment, conduct, or control of an enterprise.” Abraham v. Singh, 480 F.3d

351, 355 (5th Cir. 2007) (citations omitted). Further, the plaintiff “must show the

[RICO] violation was the but-for and proximate cause of injury.” Allstate Ins. Co.

v. Plambeck, 802 F.3d 665, 676 (5th Cir. 2015) (citation omitted). Each of these

elements is present in this case, and TIC can show that Defendants’ RICO violations

are the but-for and proximate causes of its injury.

                      RICO Person
      First, all Defendants are culpable “persons” within the meaning of RICO

because each Defendant is an “individual or entity capable of holding a legal or

beneficial interest in property.” 18 U.S.C. § 1961(3). The Fifth Circuit has added

that “the RICO person must be one that either poses or has posed a continuous threat

of engaging in acts of racketeering.” Crowe v. Henry, 43 F.3d 198, 204 (5th Cir.

1995) (quoting Delta Truck & Tractor, Inc. v. J.I. Case Co., 855 F.2d 241, 242 (5th

Cir. 1988)). Individuals D’Agostino, and Sudhakar and Jaya Kalaga, as well as

Vemparala, unquestionably are individuals capable of holding such an interest in



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property. Their respective corporate entities, the KIT Defendants, SKBP, SVSRK,

PD Rentals, January 22 1992, and V2V Solutions were not only capable of holding

an interest in property, they did in fact hold interests in the very property at issue in

the racketeering scheme and continue to retain title to properties and funds obtained

through the course of their fraud against TIC.

                       A Pattern of Racketeering Activity: Mail and Wire Fraud
                       and Commercial Bribery as Predicate Acts

      Second, Defendants have engaged in a pattern of racketeering activity.

“Racketeering activity consists of two or more predicate criminal acts that are

(1) related and (2) amount to or pose a threat of continued criminal activity.”

Abraham, 480 F.3d at 355 (internal quotation marks omitted) (citing H.J. Inc. v.

Northwestern Bell Tel. Co., 492 U.S. 229, 239 (1989)) (denying dismissal of RICO

claim where similar predicate fraudulent acts presented a future threat of repetition

had plaintiffs not filed their lawsuit). Relatedness is established if the acts have the

“same or similar purposes, results, participants, victims, or methods of commission.”

H.J. Inc., 492 U.S. at 240. To find “continued criminal activity,” there must be “a

closed period of repeated conduct . . . [in which] a series of related predicates

extend[] over a substantial period of time.” H.J. Inc., 492 U.S. at 242–43; see also

Hewlett-Packard Co. v. Byd:sign, Inc., No. 6:05-CV-456, 2007 U.S. Dist. LEXIS

5323, at *15–16 (E.D. Tex. Jan. 25, 2007) (finding a two-year period of fraud

committed by plaintiff company’s employees was “long-term criminal activity”).

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      Qualifying “predicate criminal acts” under RICO include mail fraud (in

violation of 18 U.S.C. § 1341) and wire fraud (in violation of 18 U.S.C. § 1343), as

well as commercial bribery under Texas penal law. See 18 U.S.C. § 1961(1); Tex.

Penal Code § 32.43; see also Aetna Life Ins. Co. v. Behar, No. 4:15-cv-00491, 2019

U.S. Dist. LEXIS 150521, at *37–38 (S.D. Tex. Aug. 5, 2019) (denying defendant’s

motion to dismiss where plaintiff sufficiently alleged RICO claims based on

predicate acts of violations of Texas’s commercial bribery law, and mail and wire

fraud).

                  a. Commercial Bribery

      Texas’s commercial bribery statute applies to a fiduciary, who, without the

consent of the beneficiary, intentionally or knowingly accepts a benefit from another

person on the understanding this benefit will influence the conduct of the fiduciary

in relation to the affairs of his beneficiary. See Tex. Penal Code § 32.43. The statute

defines a fiduciary as, among other terms, “an agent or employee.” Tex. Penal Code

§ 32.43(a)(2)(A). Both the payor and payee of a bribe can be guilty of commercial

bribery if the payor offers the benefit to the employee-fiduciary. See Samsung Elecs.

Am., Inc. v. Chung, No. 3:15-CV-4108-D, 2017 U.S. Dist. LEXIS 21700, at *16–17

(N.D. Tex. Feb. 16, 2017) (citing Tex. Penal Code § 32.43(c)).

      Here, D’Agostino, Sudhakar and Jaya Kalaga, and the Kalaga corporate

Defendants, including KIT, SKBP, and SVSRK, engaged in multiple predicate



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criminal acts violating Texas’s commercial bribery statute. According to the statute,

D’Agostino was a fiduciary to TIC as its employee. See Second Kennon Decl.

¶¶ 3, 5. He intentionally and knowingly accepted bribes from the Kalaga Defendants

worth millions of dollars in cash, property, and luxury goods that influenced his

conduct in relation to TIC. See Exs. 23–25, 29, 31–38. From the Kalaga Defendants,

D’Agostino received over $10 million in bribes. See id. These bribes went to

D’Agostino personally, as well as to his shell companies, PD Rentals and January 22

1992, LLC and through his then-wife Melissa D’Agostino. See Ex. 24–25. In

exchange, D’Agostino facilitated the submission of fraudulently inflated bids from

KIT Defendants to TIC, including fictitious higher bids, and he ensured the KIT

Defendants won every project on which they bid. See, e.g., Exs. 44, 46–49 (bid

packages submitted to TIC from KIT, V2V Solutions, and Sermeg), Ex. 50 (e-mails

sent to D’Agostino containing bids for review and PowerPoint to award KIT more

construction work); ECF Nos. 24-19–25 (bid packages and e-mails to D’Agostino);

Second Kennon Decl. ¶¶ 12–14, 17–19, 21, Exs. 1-A–1-J (ECF No. 30-1) (same).

He also facilitated the award of unnecessary construction work to the KIT

Defendants. See, e.g., Ex. 51; Am. Compl. ¶¶ 94–103. Each and every submission

to TIC of a fraudulent bid or award of unnecessary construction work by D’Agostino

at the expense of TIC in exchange for bribes for D’Agostino violated the Texas

commercial bribery statute, constituting a criminal predicate act under RICO.


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      Sudhakar and Jaya Kalaga, and their KIT entities, paid hundreds of bribes to

D’Agostino between 2009 and 2019 worth millions of dollars. As previously

extensively detailed, these bribes included silver bars and innumerable luxury goods

worth hundreds of thousands of dollars, real estate worth approximately $4 million,

and cash bribes worth over $5 million. See Exs. 24–25, 29, 31–32, 34–38; Am.

Compl. ¶¶ 104–141. They paid these bribes to incentivize D’Agostino to continue

breaching his fiduciary duty to his employer, TIC, by rigging the bid process and

greatly enriching the Kalaga Defendants at TIC’s expense. Each of the Kalagas’ and

KIT’s offers of bribes to D’Agostino, in real property, cash, and goods, violates the

Texas commercial bribery statute and constitutes criminal predicate acts under

RICO.

      Finally, as extensively detailed above, Sudhakar Kalaga was asked numerous

questions at his deposition on January 3, 2020 relating to bribes, gifts, and real estate

transfers made to D’Agostino, and he refused to answer all questions by invoking

his Fifth Amendment privilege. See Sections II.A–C. As a result, TIC is entitled to

an adverse inference against Sudhakar Kalaga that these transactions were bribes

that violated the Texas commercial bribery statute. See GE Capital Commercial

Inc., 2009 WL 1148235, at *3.




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                  b. Mail and Wire Fraud

      In addition to commercial bribery, the Kalaga Defendants committed multiple

criminal predicate acts of mail and wire fraud. See § 1341; § 1343; § 1961(1).

Under RICO, for a mail or wire fraud to serve as a predicate act, a plaintiff must

establish: “(1) a scheme or artifice to defraud or to obtain money or property by

means of false pretenses, representations, or promises; (2) a use of the interstate

mails or wires for the purpose of executing the scheme; and (3) a specific intent to

defraud either by revising, participating in, or abetting the scheme.” Vanderbilt

Mortg. & Fin., Inc. v. Flores, 746 F. Supp. 2d 819, 841 (S.D. Tex. 2010) (citation

omitted) (denying summary judgment on RICO claims where the predicate criminal

acts included mail and wire fraud). Under the first factor, the elements of fraud

include (1) a misstatement or omission; (2) of material fact; (3) made with the intent

to defraud; (4) on which the plaintiff relied; and (5) which proximately caused the

plaintiff’s injury. See Hewlett-Packard Co., 2007 U.S. Dist. LEXIS 5323, at *12

(citing Williams v. WMX Techs., 112 F.3d 175, 177 (5th Cir. 1997)). Federal Rule

of Civil Procedure 9(b) requires that fraud claims, including mail and wire fraud as

predicates of a RICO claim, plead the “circumstances constituting fraud” with

particularity. See Allstate Ins. Co. v. Benhamou, 190 F. Supp. 3d 631, 658 (S.D.

Tex. 2016) (quoting Fed. R. Civ. P. 9(b)). “However, ‘[m]alice, intent, knowledge,

and other conditions of a person’s mind may be alleged generally.’” Id. The purpose



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of such heightened pleading standards is to “provide defendants with fair notice of

the plaintiffs’ claims.” See Hewlett-Packard Co., 2007 U.S. Dist. LEXIS 5323, at

*12 (quoting Tuchman v. DSC Communications Corp., 14 F.3d 1061, 1067 (5th Cir.

1994)).

      However, courts in this Circuit have routinely found that where the fraudulent

conduct extended over a long period of time, “the plaintiff need not allege in detail

the facts of each transaction of the fraudulent scheme.” See Hewlett-Packard Co.,

2007 U.S. Dist. LEXIS 5323, at *13–14 (citing United States ex rel. King v. Alcon

Laboratories, Inc., 232 F.R.D. 568, 570 (N.D. Tex. 2005) (“[I]n cases where the

plaintiff is alleging that the fraud occurred over a multi-year period, the plaintiff is

not required to allege all facts supporting each and every instance when each

defendant engaged in fraud.”); United States ex rel. Thompson v. Columbia/HCA

Healthcare Corp., 20 F. Supp. 2d 1017, 1039 (S.D. Tex. 1998) (noting that courts

have consistently found that where allegations of fraudulent conduct are numerous

or take place over an extended period of time, less specificity is required to satisfy

the pleading requirements of Rule 9(b)) (citations omitted). In such instances, the

plaintiff need only establish the “who, what, when, where, and how of the alleged

fraud.” See, e.g., Columbia/HCA Healthcare Corp., 20 F. Supp. 2d at 1028 (citations

omitted).




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      Defendants carried out their unlawful scheme by use of the interstate mails

and wires, committing the predicate criminal acts of mail and wire fraud. First, all

individual Defendants (the Kalagas, D’Agostino, and Vemparala) on personal e-mail

accounts and on behalf of their corporate entities (the KIT Defendants and V2V

Solutions) used the interstate wires via e-mail to communicate with each and to

transmit fraudulent bids, fraudulent purchase order forms, and other messages

designed to execute a scheme to defraud TIC, constituting numerous acts of wire

fraud. See Exs. 41, 50–54; ECF Nos. 24-19, 24-20, 24-22; Second Kennon Decl.

¶¶ 16–17 (ECF No. 30-1) (e-mails sending and facilitating submission to TIC of

fraudulent and fake bids between Defendants). TIC described in detail in its

Amended Complaint the Defendants’ scheme and provided multiple specific

examples of e-mails between the Defendants establishing wire fraud (see generally

ECF No. 90), sufficient to provide Defendants with “fair notice of plaintiff’s

claims.” See Hewlett-Packard Co., 2007 U.S. Dist. LEXIS 5323, at *12.

      As just one example, in Amended Complaint paragraphs 50–54, TIC

described an e-mail exchange in which Vemparala sent a V2V Solutions bid to

D’Agostino’s e-mail on November 3, 2010 for D’Agostino to submit to TIC, and

Vemparala blind-copied Sudhakar Kalaga so that Sudhakar Kalaga’s inclusion on

the e-mail would not be known to anyone at TIC. Kalaga then forwarded the bid

e-mail he received from Vemparala to Joseph informing him the bid was sent.


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Joseph responded that the bid should have been hand-delivered without any e-mail,

but that it was ultimately fine it was sent via e-mail. KIT Professionals submitted a

lower bid than V2V Solutions’ bid and it was awarded the project by TIC. See

Ex. 50; Am. Compl. ¶¶ 50–54. This exchange alone establishes the use of the wires

to further the scheme to defraud TIC and rig its bidding process by submitting two

fraudulent bids the Defendants intended TIC to rely upon, and it also establishes the

Defendants’ specific intent to defraud by concealing their coordination of bids from

TIC.

       Sudhakar Kalaga also personally created fake bids using other companies’

names utilizing e-mail, further instances of wire fraud. As one example, in January

2016, D’Agostino solicited bids for a “lightning protection system” at TIC. KIT

Construction submitted a lump-sum bid of $245,000. On the same day, V2V

Solutions and Sermeg each submitted a lump-sum bid of $375,000 and $295,000,

respectively. Sermeg’s bid was “signed” by V.N. Murthy, the father of Vemparala,

the owner of V2V Solutions. See Ex. 55; Frizell Decl. at ¶¶ 14–15. As planned,

because KIT appeared to be the lowest bidder, the project was awarded to KIT. LSI,

the general contractor for KIT Construction, charged KIT $49,955.40 to complete

all work on this project. See Ex. 56. KIT’s profit on this project was $195,044.60,

a 390% markup of its costs. See Exs. 55–56. This coordination of bids enabling

KIT’s enlarged profit margin was made possible because Sudhakar Kalaga himself


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prepared the Sermeg and V2V Solutions bid to be higher than his KIT bid. On the

same day the bids were submitted, Kalaga e-mailed the submitted Sermeg and V2V

Solutions bids to Vemparala, with the subject line, “Old proposals resubmitted today

with revised dates and numbers.” See Ex. 53. Kalaga e-mailed these bids to inform

Vemparala that they had been submitted to TIC. Vemparala responded to Kalaga

via e-mail, “Got it Mama. Thanks. Good luck!!” See id. Vemparala himself

admitted during a voluntary interview with TIC’s investigators that Kalaga prepared

bids using V2V Solutions’ name and submitted them to TIC personally. See Frizell

Decl. at ¶ 12. This exchange establishes that Sudhakar Kalaga utilized the interstate

wire system to further the conspiracy to defraud TIC with fake bids and demonstrates

his fraudulent intent to hide this coordination of bids from TIC.

      Similar examples of wire fraud, including examples involving Jaya Kalaga,

are described in TIC’s Amended Complaint at paragraphs 56, 73, 81, 83, 89, and

103, as well as in exhibits submitted in support of TIC’s Motion for a Temporary

Restraining Order (ECF No. 24). See Exs. 41, 51–52, 54; ECF No. 24-19, Second

Kennon Decl. ¶ 16 (ECF No. 30-1) (e-mail sent by Kalaga to D’Agostino’s personal

e-mail account attaching V2V Solutions bid, which D’Agostino then forwarded to

his TIC account); ECF Nos. 24-21–22, Second Kennon Decl. ¶ 17 (ECF No. 30-1)

(e-mails sent by Kalaga to D’Agostino’s private e-mail attaching KIT Construction

bids for D’Agostino to review before D’Agostino sent the bids to his TIC e-mail


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account). Such detailed and specific examples of wire fraud over the extended

period from 2010 to 2019 establish a strong likelihood of success on TIC’s claims

of numerous acts of wire fraud as criminal predicate acts under RICO.

      Additionally, the KIT Defendants received fraudulently inflated payments

from TIC through the U.S. mail system, constituting mail fraud. See Second Kennon

Decl. ¶ 11 (ECF No. 30-1). Checks sent through the mail containing the proceeds

of the fraud “thus contain[] ‘the lifeblood of the scheme,’” and the act constitutes

mail fraud under § 1341. See United States v. Marchan, 32 F. Supp. 3d 753, 770

(S.D. Tex. 2013) (quoting United States v. Rico Indus., Inc., 854 F.2d 710, 713 (5th

Cir. 1988)). KIT Construction and KIT Professionals received checks from TIC

through the U.S. mail for millions of dollars. See Second Kennon Decl. ¶¶ 9–11

(ECF No. 30-1). D’Agostino directed and caused TIC to make these payments to

KIT that would not have been made but for Defendants’ fraud and deception. See

id. ¶¶ 13–14, 21–23.

      TIC’s Amended Complaint describes in detail two specific examples in 2013

to 2014 and 2016 to 2017 respectively, in which Sudhakar Kalaga coordinated via

e-mail with Vemparala and D’Agostino to submit fraudulently inflated KIT

Construction and KIT Professionals bids and fake higher V2V Solutions and Sermeg

bids, which resulted in TIC selecting KIT as the winning bidder and paying out the

fraudulently-invoiced amount via the U.S. mail. See Ex. 48 (2016–17 example);


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Am. Compl. ¶¶ 73, 75; ECF Nos. 24-19, 24-20 (2013–14 example); Second Kennon

Decl. ¶¶ 9–11 (ECF No. 30-1). These two instances alone constitute two acts of mail

fraud. Further, TIC has described approximately 80 examples between 2010 to 2018

in which KIT and V2V Solutions submitted inflated and fake bids designed to

defraud TIC to select KIT’s bids and pay out KIT’s bid via the U.S. mail. See Am.

Compl. ¶ 77; Second Kennon Decl. ¶¶ 9–11 (ECF No. 30-1). TIC’s payments on

KIT’s inflated bids constitute numerous acts of mail fraud. Again, these detailed

and specific examples of mail fraud between 2007 and 2019 surpass Rule 9(b)’s

heightened pleading standard and establish a strong likelihood of success on TIC’s

claims of multiple acts of mail fraud as criminal predicate acts under RICO.

      Furthermore, D’Agostino solicited bids via FedEx, constituting further

examples of mail fraud. See, e.g., Marchan, 32 F. Supp. 3d 753 (affirming jury

verdict of guilty of mail fraud for receiving proceeds of fraud through FedEx). As

just one example, KIT Construction, V2V Solutions, and OnePoint, as well as other

fictitious bidders, all submitted bids to D’Agostino via FedEx, which he received on

April 17, 2017, for the HEV Expansion (Phase II) project. See Exs. 44, 46–47; Am.

Compl. ¶¶ 92 (Project #4), 170. KIT Construction’s bid for this project was

fraudulently inflated 113% from what the general contractor, LSI, was charging it

for the work. See Snell Decl. ¶ 23, Ex. 6 (ECF 31-6); Am. Compl. ¶ 92, Project #4.

The Defendants coordinated for V2V Solutions’ and OnePoint’s submitted bids to


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be higher, and KIT Construction was selected by TIC as the winning, “lowest”

bidder.   D’Agostino directed and caused TIC to pay KIT Construction their

fraudulently obtained $1.39 million. See Second Kennon Decl. ¶¶ 9–11 (ECF No.

30-1). This is just one example in which the Defendants utilized the interstate mail

system through FedEx to engage in mail fraud.

      As such, all Defendants have committed multiple predicate criminal acts of

commercial bribery, mail fraud, and wire fraud that collectively establish a pattern

of racketeering activity that was related in the same participants aiming to achieve

the same result, defraud TIC for millions. Every bribe offered and accepted, every

e-mail sent in furtherance of the scheme, and every payment sent through the U.S.

mail or bid sent through FedEx was related to the Defendants’ coordinated scheme

to defraud TIC for millions of dollars.

      Finally, as extensively detailed above, Sudhakar Kalaga was asked numerous

questions at his deposition on January 3, 2020 relating to his relationship with Vinod

Vemparala and his company, V2V Solutions, as well as KIT’s method for

calculating its bids based on subcontractors price quotes, and e-mails between

Defendants exchanging bids, and he refused to answer all questions by invoking his

Fifth Amendment privilege. See Sections II.D–E. As a result, TIC is entitled to an

adverse inference that Kalaga, KIT Construction, and KIT Professionals submitted

fake bids themselves and conspired to submit fake bids through V2V Solutions,


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Sermeg, and Vinod Vemparala using the interstate mail and wires, in violation of

sections 1341 and 1343. See GE Capital Commercial Inc., 2009 WL 1148235, at *3.

      Defendants’ related criminal predicate acts represent a closed period of

repeated conduct, amounting to a “pattern of racketeering activity” pursuant to 18

U.S.C. § 1961(5). See H.J. Inc., 492 U.S. at 242 (“A party alleging a RICO violation

may demonstrate continuity over a closed period by proving a series of related

predicates extending over a substantial period of time.”). Between at least 2007 and

2019, TIC paid over $100 million in numerous construction contracts to KIT at

markups of between 50% to 400% over the Defendants’ cost because of the

Defendants’ criminal acts. See, e,g,, Exs. 41, 44, 46, 48, 50–52, 54 (examples of

Defendants’ criminal acts); see ECF Nos. 24-20, 24-23–28 (examples of inflated

bids and LSI invoices to KIT Construction on TIC projects); see generally Snell

Decl. and exhibits (ECF No. 31-6). The duration of the continuous and lucrative

bribery and kickback scheme constitutes a substantial and long-term period of

criminal activity. Furthermore, based on the nature of the enterprise and predicate

acts, had TIC not detected Defendants’ scheme, Defendants posed a threat of

continued criminal activity extending indefinitely into the future. Am. Compl.

¶¶ 172–73. TIC has therefore sufficiently alleged a prima facie case that Defendants

satisfy the second prong of a RICO claim with their pattern of racketeering activity.




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                      Enterprise Connected to Racketeering Activity

      Third, TIC’s evidence establishes a prima facie case that Defendants’ pattern

of racketeering activity connected to “the acquisition, establishment, conduct, or

control of an enterprise.” See Abraham, 480 F.3d at 355. Here, all individual

Defendants, together with the corporate Defendants under their control, created an

association-in-fact enterprise, separate from the pattern of racketeering, for the

common purpose of unlawfully obtaining TIC construction projects and payments

from TIC. See 18 U.S.C. § 1961(4); Crowe, 43 F.3d at 204 (“A RICO enterprise can

be either a legal entity or an association-in-fact.”). Each individual and corporate

entity also had an existence separate from the racketeering activity. Am. Compl.

¶¶ 15–27 (describing the individual and corporate Defendants’ identities).

Beginning in 2009 for the Kalaga Defendants and Vemparala, and continuing until

2019 when TIC discovered the fraud, each Defendant engaged in a pattern of

racketeering activity for the shared purpose of defrauding TIC for their own personal

benefit.

       Each Defendant had a defined role in operating the enterprise. D’Agostino

was responsible for collecting bids from V2V Solutions, Sermeg, KIT, and other

non-Defendant companies and making the bidding process appear legitimate to

others at TIC. D’Agostino concealed the fraudulent nature of the bidding process

from others at TIC to obtain TIC approvals to award work to D’Agostino’s preferred



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bidder. See, e.g., Ex. 51; ECF Nos. 24-19, 24-21 (e-mails where D’Agostino used

his personal account to facilitate transmission of fraudulent bids and use of Kalaga-

created PowerPoint to justify unnecessary construction). D’Agostino ensured that

TIC issued purchase orders to KIT, as all the Defendants planned, and he ensured

that TIC paid out the fraudulently inflated invoices submitted by KIT. See Exs.44,

46–49 ; ECF Nos. 24-19–28; Second Kennon Decl. ¶¶ 14, 18, 21–23, Exs. 1-A–1-J

(examples representative of hundreds of fraudulent and fictitious bids and TIC

Purchase Requisitions submitted by D’Agostino to TIC). D’Agostino also formed

and exercised control over entities PD Rentals (ECF No. 24-18 (D’Agostino’s

ownership of PD Rentals) and January 22 1992 (Ex. 27) to receive the hundreds of

bribes and kickbacks from Sudhakar and Jaya Kalaga and entities under their control

to compensate him for his actions at TIC.

      Sudhakar and Jaya Kalaga controlled Defendants KIT Construction, KIT

Professionals, SKBP, and SVSRK. See Am. Compl. ¶¶ 17–18; Exs. 57–59; ECF

No. 24-5 (Kalaga control of SKBP). The Kalagas were responsible for submitting

inflated bids on behalf of KIT via e-mail and for coordinating the submission of fake

bids to justify TIC awarding work to KIT. See Exs. 44, 46, 49, 51, 54, 55; Frizell

Decl. at ¶¶ 10–15; ECF Nos. 24-19–28; Second Kennon Decl. ¶¶ 14, 18, 21–23, Exs.

1-A–1-J (examples representative of hundreds of fraudulent and fictitious bids and

TIC Purchase Requisitions submitted by D’Agostino to TIC).


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      Vinod Vemparala was responsible for submitting fake bids on behalf of his

companies, V2V Solutions and Sermeg, to D’Agostino. See generally Frizell Decl.

These bids were coordinated with KIT’s bids to ensure that KIT’s bids were lower

so that D’Agostino and TIC would select KIT to perform the work. See Exs. 44, 46,

50, 55; ECF No. 24-20; Second Kennon Decl. ¶ 18, Exs. 1-A–1-J (ECF No 30-1).

      KIT Construction and KIT Professionals were responsible for retaining

contractors that would actually perform the work at TIC’s facilities, and the KIT

companies were used to submit fraudulently inflated bids and pay out bribes to

D’Agostino and others. See, e.g., Exs. 21, 24–25, 42–45, 54, 55, 56; ECF Nos. 24-

20 (TIC Purchase Requisition with KIT Professional’s bid); 24-24–25 (LSI invoice

and price quote to KIT Professionals and KIT Construction for TIC projects); 24-

26–28 (KIT Construction bids relating to LSI price quote in No. 24-25); Second

Kennon Decl. ¶ 18, Exs. 1-A-1-J (ECF No. 30-1); Snell Decl. ¶¶ 16–26, Exs. 1–8

(ECF No. 31-6). SKBP and SVSRK, Kalaga-controlled companies, held properties

that Sudhakar Kalaga acquired using the proceeds of the fraud at TIC. See Ex. 29;

ECF No. 24-3 (deeds for properties held by SKBP and SVSRK that were transferred

to PD Rentals). The Kalagas used SKBP and SVSRK to transfer properties to

D’Agostino as compensation for facilitating the fraud at TIC. See id.

      All individual Defendants and corporate entities are culpable persons distinct

from the association-in-fact enterprise they formed, with their own role in the


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scheme. The purpose of this association-in-fact enterprise was to defraud TIC of

millions of dollars by manipulating and rigging TIC’s bidding process for

construction projects.

                         Causation

      Finally, TIC can establish that Defendants’ violations of RICO were the but-

for and proximate cause of TIC’s injury. Am. Compl. ¶ 177. But for Defendants’

criminal activities, bribery, and manipulation of TIC’s procurement and bidding

processes for maintenance and construction projects, TIC would not have overpaid

by tens of millions for construction work. Defendants’ action in manipulating TIC’s

bidding process directly resulted in the award of millions of dollars of construction

business to KIT. See Second Kennon Decl. ¶¶ 9–14, 21–23 (ECF No. 30-1).

Moreover, TIC was clearly a foreseeable victim, as the entire purpose of Defendants’

enterprise was to defraud TIC into paying unnecessary costs for construction

projects. TIC’s injuries to its business and property in the form of grossly inflated

payments to KIT Defendants are the direct and proximate result of Defendants’

pattern of racketeering activity. See id.

      Based on the above, TIC has at this preliminary stage of the case demonstrated

a substantial likelihood of success on the merits for its RICO claims against all

Defendants.




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           B.   Breach of Fiduciary Duty

      TIC can also establish a substantial likelihood of success on its breach of

fiduciary duty claim against D’Agostino. TIC can meet each of the necessary

elements: “(1) a fiduciary relationship between the plaintiff and defendant; (2) the

defendant must have breached his fiduciary duty to the plaintiff; and (3) the

defendant’s breach must result in injury to the plaintiff or benefit to the defendant.”

See Navigant Consulting v. Wilkinson, 508 F.3d 277, 283 (5th Cir. 2007) (citing

Jones v. Blume, 196 S.W.3d 440, 447 (Tex. App. — Dallas 2006, pet. denied)).

      A fiduciary relationship existed between TIC and D’Agostino. A “fiduciary”

relationship between employer and employee “‘contemplates fair dealing,’ and

‘refers to integrity and fidelity.’” See Navigant Consulting, 508 F.3d at 283. Further,

“Texas courts have held that an employee may owe certain fiduciary duties to his

employer when the employee has been placed in a position of peculiar confidence

or trust toward the employer.” Hewlett-Packard Co., 2007 U.S. Dist. LEXIS 5323,

at *22–23 (citing Abetter Trucking Co. v. Arizpe, 113 S.W.3d 503, 510 (Tex. App.

— Houston 2003, no pet.)).

      Here, D’Agostino had a fiduciary relationship with TIC, his employer.

D’Agostino, as an employee, had a duty to TIC to act openly, in good faith, and with

integrity. Further, TIC placed D’Agostino in a position of peculiar confidence and

trust that he would, consistent with TIC’s purchasing policies, solicit accurate and


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competitive bids from contractors to complete necessary construction work at TIC’s

facilities and not receive “personal benefits from suppliers with regard to corporate

procurement.” See Second Kennon Decl. ¶¶ 5–6, 21 (ECF No. 30-1). D’Agostino

breached his fiduciary duty and abused his position of confidence and trust by

engaging in a fraudulent scheme to award over $100 million in construction

contracts to KIT at markups significantly over these companies’ costs. See Exs. 42–

45, 48, 49; ECF Nos. 24-20, 24-23; Second Kennon Decl. ¶¶ 14, 18, 21–23, Exs. 1-

A–1-J (examples representative of hundreds of fraudulent and fictitious bids and TIC

Purchase Requisitions submitted by D’Agostino to TIC). TIC suffered damages

each time it awarded a construction project at a grossly inflated markup as a result

of D’Agostino’s conduct, and its pre-trebled damages as a result of D’Agostino’s

breach are approximately $69.5 million. Pollack Decl. at ¶ 24. D’Agostino engaged

in this deceitful manipulation of TIC’s bidding process to enrich himself to the

detriment of TIC, in bribes worth millions of dollars, in real-estate, luxury cars and

apartments, luxury goods, and silver bars. See Exs. 23–25, 29, 31–38; Am. Compl.

¶¶ 104–141. Therefore, TIC has demonstrated a substantial likelihood of success on

the merits for its breach of fiduciary duty claim against D’Agostino.

           C. Knowing Participation in Breach of Fiduciary Duty

      Similarly, TIC can establish that the Sudhakar and Jaya Kalaga and the KIT

Defendants knowingly participated in and facilitated D’Agostino’s breach of his



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fiduciary duty. To prove such knowing participation, TIC can show that (1) a

fiduciary relationship existed between D’Agostino and TIC; (2) these Defendants

knew that D’Agostino was in a fiduciary relationship with TIC; and (3) these

Defendants were aware that they were participating in the breach of fiduciary

relationship by defrauding TIC and bribing its fiduciary, D’Agostino.             See

D’Onofrio v. Vacation Publs., Inc., 888 F.3d 197, 216 (5th Cir. 2018) (applying

Texas law to establish a claim for knowing participation in a breach of fiduciary

duty). Knowledge in the context of knowingly participating in a breach of another’s

fiduciary duty means the tortfeasor had “actual awareness, at the time of the

conduct” that the other party owed a fiduciary duty and that their actions were aiding

breach of those duties. See Seven Seas Petroleum, Inc. v. Cibc World Mkts. Corp.,

No. H-08-3048, 2013 U.S. Dist. LEXIS 101112, at *43 (S.D. Tex. July 19, 2013)

(citing JSC Neftegas-Impex v. Citibank, N.A., 365 S.W.3d 387, 411 (Tex. App. —

Houston [1st Dist.] 2011, review denied)). “Texas law, follows the general rule, that

except for knowledge obtained confidentially, the knowledge of the agent is the

knowledge of the principal irrespective of its source or time of acquisition.” Floyd

v. Hefner, 556 F. Supp. 2d 617, 655 (S.D. Tex. 2008) (citing Fireman’s Fund Indem.

Co. v. Boyle Gen. Tire Co., 392 S.W.2d 352, 356 (Tex. 1965)).

      D’Agostino owed a fiduciary duty to his employer, TIC, because of the

peculiar position of confidence he was placed in to solicit and submit accurate bids


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for construction work. See supra Section III.B (Breach of Fiduciary Duty). The

Defendants plainly and actually knew that D’Agostino owed such a fiduciary duty

to TIC as their association with him submitting bids directly involved his duty to

TIC to solicit competitive bids for constructive work. See, e.g., Exs. 42–45, 48–52;

ECF Nos. 24-19, 21, 22 (e-mails from Kalaga to D’Agostino submitting bids), ECF

Nos. 24-26–28 (KIT bids addressed to D’Agostino); Second Kennon Decl. ¶ 18, Exs.

1-A–1-J (ECF No. 30-1) (same). They conspired with D’Agostino to take advantage

of the trust that TIC had placed in D’Agostino. The knowledge of KIT’s agents,

Sudhakar and Jaya Kalaga, are imputed to their corporate entities, the KIT

Defendants.      See Am. Compl. ¶¶ 17–18 (both Kalagas were officers of KIT

corporations).

      Finally, all Defendants were not only aware, but acted with the explicit goal,

that their actions would encourage and assist D’Agostino to breach his fiduciary duty

to TIC. Sudhakar and Jaya Kalaga paid extravagant bribes to D’Agostino, such as

purchasing him luxury goods and silver bars worth hundreds of thousands of dollars,

providing him with luxury cars and luxury apartments rent-free, and transferring to

him millions of dollars in real estate through their other corporate entities. See Exs.

23–25, 29, 31–38; ECF No. 24-3 (first eight properties); Am. Compl. ¶¶ 104–141.

They made these exorbitant transfers to D’Agostino so that D’Agostino would

continue to submit their companies’ fraudulently inflated and fake bids to TIC and


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facilitate awarding their companies lucrative construction work, in breach of his duty

to TIC. In addition to acting in their individual capacity, they also acted as agents

for KIT Construction and KIT Professionals, which submitted the fraudulent bids

(see, e.g., Exs. 42–45, 49, 55; ECF Nos. 24-20, 26–28; Second Kennon Decl. ¶ 18,

Exs. 1-A–1-J (ECF No. 30-1)) and which paid D’Agostino cash bribes worth an

additional $5 million to encourage continued submission of bids to enrich the

companies and the Kalagas at the expense of TIC (See Exs. 24–25). The Kalagas

and their KIT entities knew their bids were fraudulent, and they knew that TIC would

not select their bids without fake bids from companies designed to make KIT bids

appear competitive. See, e.g., Frizell Decl. at ¶¶ 10, 12, 14; Exs. 41, 50, 52, 55; ECF

No. 24-19 (e-mail from Kalaga to D’Agostino with a V2V bid). The knowledge of

the individual Kalagas is imputed to their corporate agents. These Defendants

knowingly participated in D’Agostino’s breach of his fiduciary duty to TIC to enrich

themselves at the expense of TIC.

      Finally, as extensively detailed above, Sudhakar Kalaga was asked numerous

questions at his deposition on January 3, 2020 relating to his relationship with

D’Agostino and the bribes, gifts, and real estate transfers he made to D’Agostino,

and he refused to answer all questions by invoking his Fifth Amendment privilege.

See Sections II.A–C. As a result, TIC is entitled to an adverse inference that

Sudhakar Kalaga, KIT Professionals, and KIT Construction knowingly participated


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in D’Agostino’s breach of fiduciary duty with exorbitant bribes to enrich himself at

TIC’s expense. See GE Capital Commercial Inc., 2009 WL 1148235, at *3.

           D.      Constructive Trust

      TIC can establish it is likely to succeed on its equitable remedy of a

constructive trust against the Kalaga Defendants, and this equitable remedy supports

imposing a preliminary injunction to protect such a remedy. A constructive trust is

a court-created, equitable remedy intended to redress unjust enrichment.         See

Meadows v. Bierschwale, 516 S.W.2d 125, 131 (Tex. 1974). The Texas Supreme

Court has stated that “[t]he specific instances in which equity impresses a

constructive trust are numberless.” Pope v. Garrett, 147 Tex. 18, 211 S.W.2d 559,

560 (Tex. 1948). Generally, though, to obtain a constructive trust, a party must

establish “(1) a breach of a special trust or fiduciary relationship or actual or

constructive fraud, (2) unjust enrichment of the wrongdoer, and (3) an identifiable

res that can be traced back to the original property.” See Archer v. Anderson, 556

S.W.3d 228, 245 (Tex. 2018) (citations omitted). The final tracing requirement on

particular property should be “observed with reasonable strictness.” See KCM Fin.

LLC v. Bradshaw, 457 S.W.3d 70, 88 (Tex. 2015). However, where a plaintiff can

establish that property was purchased with commingled funds, i.e., funds tracing

back to the breach or fraud, as well as funds from other sources, the burden then

shifts to the Defendant to establish that the property should not have a constructive



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trust imposed upon it. See Longview Energy Co. v. Huff Energy Fund LP, 533

S.W.3d 866, 873–74 (Tex. 2017) (citing multiple cases supporting this proposition).

      Notably, as a plaintiff is not required to demonstrate it is entitled to summary

judgment in order to establish a likelihood of success on its claims, courts have not

required a plaintiff to detail every asset upon which he could obtain a constructive

trust when granting a preliminary injunction. See, e.g., Tisino v. R & R Consulting

& Coordinating Group, LLC, 478 Fed. App’x 183, 186 (5th Cir. 2012) (“Even if the

preliminary injunction could have been more precise with respect to the exact assets

at issue, such inaccuracy would not require reversal. Under Texas law, a court is not

required to exercise mathematical precision when deciding which assets should be

covered by a constructive trust.”) (citations omitted) (affirming district court’s grant

of a preliminary injunction freezing defendants’ assets to preserve plaintiff’s

constructive trust remedy over disputed funds after plaintiff established that

defendants had wrongfully acquired a defined amount of money and were actively

dissipating and transferring funds); Tujague v. Adkins, No. 4:18-CV-631, 2018 U.S.

Dist. LEXIS 171394, at *6–7, 11–12 (E.D. Tex. Oct. 4, 2018) (granting a broad

asset-freezing preliminary injunction where plaintiff pled RICO and a constructive

trust because plaintiff “established with sufficient likelihood for the limited purpose

of this [preliminary injunction] order” that defendant defrauded him of a certain

amount of money and that money was traceable from plaintiff to defendant and/or


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companies defendant controlled); French v. Fisher, No. 1:17-CV-248-DAE, 2018

U.S. Dist. LEXIS 232723, at *49 (W. D. Tex. Aug. 27, 2018) (granting a preliminary

injunction limiting defendants’ access to funds to protect plaintiff’s constructive

trust remedy without specifically identifying upon which funds the plaintiff could

likely obtain a constructive trust).

      TIC can prevail on its claim for a constructive trust on the Kalaga Defendants’

real property and personal properties of significant value because they were

purchased as a result of funds unjustly obtained through breach of fiduciary duty and

fraud. First, as established above, D’Agostino breached his fiduciary duty to TIC

by accepting bribes and kickbacks from Defendants in exchange for rigging TIC’s

bid-process and directing TIC to pay millions on inflated bids. See supra Section

III.B (Breach of Fiduciary Duty). Additionally, Sudhakar and Jaya Kalaga, and their

KIT corporate entities knowingly participated in and facilitated this breach of

fiduciary duty by paying D’Agostino bribes worth millions of dollars to incentivize

him to continue to breach his fiduciary duty to TIC by rigging the bidding process.

See Exs. 23–25, 29, 31–38. Second, the Kalaga Defendants have plainly received

benefits worth millions of dollars from TIC through their fraudulent conduct, and it

would be unconscionable to allow them to retain this unjust enrichment. See Second

Kennon Decl. ¶¶ 9–10 (ECF No. 30-1).




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      Finally, TIC can reasonably establish that funds, real properties, and valuable

personal property acquired after 2009, when the Kalaga Defendants’ fraud began,

are traceable to the $109 million TIC paid to KIT Construction and KIT

Professionals. Pollack Decl. at ¶ 23. TIC currently estimates that nearly $70 million

of this $109 million represents TIC’s loss. See id. at ¶ 24. With this nearly

$70 million, the Kalagas paid bribes (See Exs. 23–25, 29, 31–38), purchased real

estate (including their primary residence), acquired vehicles, paid college tuition,

and obtained luxury items such as expensive watches, jewelry, and precious metals.

As demonstrated above, the Kalaga Defendants extensively commingled funds and

used KIT Construction’s bank accounts to fund their other various corporate and

personal accounts such that the burden is now on the Kalaga Defendants to show

why such properties should not be included in a constructive trust. At this early

stage, TIC has established a substantial likelihood of success on its RICO claim, its

breach and knowing participation in a breach of fiduciary duty claims, and its

equitable remedy of a constructive trust. TIC has a substantial likelihood of success

in obtaining a constructive trust over a significant amount of the Kalaga Defendants’

assets that they wrongfully obtained from TIC and have subsequently spent and

commingled with other funds in multiple personal and corporate bank accounts. TIC

is therefore entitled to a preliminary injunction to protect assets likely to be part of

its equitable remedy.


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          TIC’s Threatened Injury Outweighs Any Threatened Harm

      TIC seeks to freeze the funds, property, and real estate that Defendants stole

from TIC or acquired with the proceeds from their fraud against TIC. Maintaining

the status quo pending the resolution of TIC’s action will not harm Defendants

because the assets subject to this motion are traceable to the fraudulent scheme.

TIC’s requests to freeze all Kalaga bank accounts containing funds that they

wrongfully obtained from TIC is not unusual or unreasonable. See, e.g., Roche

Diagnostics Corp. v. Priority Healthcare Corp., No. 2:18-CV-01479-KOB-HNJ,

2019 U.S. Dist. LEXIS 193454 (N.D. Ala. Nov. 7, 2019) (freezing Defendants’ bank

accounts in a preliminary injunction relating to RICO claims in part because

Defendants purchased “several big-ticket luxury items” after the lawsuit was filed

that evidenced irreparable injury for Plaintiff’s equitable remedies); A.T.N. Indus. v.

Gross, No. 4:14-cv-02473, 2014 U.S. Dist. LEXIS 200662, at *64 (S.D. Tex. Nov.

26, 2014) (freezing all funds within the actual or constructive possession or control

of all individual and corporate defendants and requiring defendants to file with the

Court a schedule identifying the amount and locations of all frozen funds as part of

a preliminary injunction granted on RICO claims), Developers Sur. & Indem. Co. v.

Bi-Tech Constr., Inc., 979 F. Supp. 2d 1307 (S.D. Fla. 2013) (freezing any funds

held in Defendants’ identified bank accounts and freezing Defendants assets to

preclude them from disposing of assets as part of a preliminary injunction).



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Additionally, as mentioned earlier, TIC faces losing its remedy if a preliminary

injunction freezing bank accounts does not cover every financial account of the

Kalagas, as they are highly adept at setting up and using companies to hide money,

and often commingle funds between them. Indiscriminate shifting of money and

insufficient segregation of funds between different entities’ bank accounts requires

the scope of the preliminary injunction to be broad. See, e.g., Hardie's Fruit &

Vegetable Co., LP v. BIMC, LP, No. 3:18-CV-1454-D, 2018 WL 3302733, at *4

(N.D. Tex. July 5, 2018) (ordering expansion of scope to preliminary injunction to

require that contested funds — in addition to other commingled funds — continue

to be held in bank account to prevent dissolution of res in dispute); Sec. & Exch.

Comm'n v. Bryant, No. 4:17-CV-00336, 2017 WL 3492311, at *6 (E.D. Tex. Aug.

15, 2017) (“Receiver has produced sufficient evidence to prove commingling of

assets such that segregation between assets used in the Defendants’ scheme and

those of Wammel Parties’ investors cannot be done. Therefore, a preliminary

injunction over all of Wammel Parties’ assets is appropriate to protect against

dissipation of Defendants’ assets.”).

      Moreover, the Court must freeze every Kalaga Defendant bank account, or

else a remedy will prove effectively meaningless in reality. The Kalaga Defendants

and their financial accounts are all closely linked together, and there is little

distinction between corporate spending and personal spending in the accounts. From


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what TIC has uncovered from Court-ordered expedited discovery, the Kalagas

routinely utilize KIT credit cards to cover a variety of personal expenses that can be

hardly justified as “business expenses” (e.g., electronics, country club expenses,

goods from Amazon.com, trips to Vegas, expensive liquors, school tuition, parking

fees).

         Furthermore, KIT Professionals received nearly $18 million in transfers from

KIT Construction (see supra chart at pages 2-3), proceeds of KIT Construction’s

fraud against TIC. Where KIT Professionals is being significantly financially

supported by KIT Construction and fraudulent proceeds, it is reasonable to also

include KIT Professionals’ accounts within the scope of the preliminary injunction.

Were the Court to grant an asset freeze only on some but not all of the accounts, the

Kalagas will simply utilize the unfrozen account/s to continue to dissipate monies

unlawfully obtained from TIC.

            Granting TIC’s Preliminary Injunction Will Not Disserve the Public
            Interest

         The public interest will not be disserved in granting TIC’s motion. “To the

contrary, the requested injunction furthers the public’s interest in protecting against

fraudulent conduct.” See Tujague v. Adkins, No. 4:18-CV-631, 2018 U.S. Dist.

LEXIS 171394, at *10 (E.D. Tex. Oct. 4, 2018) (citation omitted). Because the

public has an interest in preventing fraudulent activity as promulgated by federal

statutes as 18 U.S.C. § 1962(c) and (d), 18 U.S.C. § 1341, 18 U.S.C. § 1343, and

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under state law such as Texas Penal Code § 32.43, the public interest will not be

disserved by granting the requested injunctive relief.

          No Additional Bond Should Be Required

      This Court previously required TIC to post a $1,000 bond as a condition of

obtaining a temporary restraining order. See ECF No. 40. TIC deposited this bond,

and the temporary restraining order expired without any enjoined party claiming any

harm. See Ex. 60 (bond receipt). TIC should not be required to provide an additional

bond because the injunctive relief will not cause any damages to Defendants, and

they would not be “wrongfully enjoined or restrained.” See Fed. R. Civ. P. 65(c).

The Fifth Circuit has recognized the security requirement to be squarely within the

district court’s discretion and affirmed injunctions granted without any security. See

Kaepa, Inc. v. Achilles Corp., 76 F.3d 624, 628 (5th Cir. 1996) (“In holding that the

amount of security required pursuant to Rule 65(c) is a matter for the discretion of

the trial court, we have ruled that the court may elect to require no security at all.”

(internal quotation marks omitted)); Allied Home Mortg. Corp. v. Donovan, 830 F.

Supp. 2d 223, 235 (S.D. Tex. 2011) (“The Fifth Circuit has held that courts in this

Circuit have the discretion to issue injunctions without security.” (citations

omitted)). TIC respectfully submits that the $1,000 bond it has already posted

constitutes a reasonable bond for purposes of a preliminary injunction against the

Kalaga Defendants.



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         CONCLUSION

      For the reasons set forth above, TIC’s motion for a preliminary injunction

should be granted to preserve the last $5 million remaining in the Kalaga personal

and corporate bank accounts, the real estate purchased during the course of the fraud,

and the luxury assets the Kalagas purchased for themselves during the fraud.

                                          Respectfully submitted,
Dated: March 26, 2020
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                      STATEMENT OF CONFERENCE

      Counsel for the movant and counsel for Defendants Sudhakar Kalaga, Jaya

Kalaga, KIT Professionals, Inc., KIT Construction Services, Inc., SKBP Ventures,

LLC, and SVSRK Enterprises, LLC have conferred on numerous occasions about

the relief requested in Plaintiff’s Motion for a Preliminary Injunction. Counsel for

those Defendants opposes this Motion.



                                          Respectfully submitted,


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                        CERTIFICATE OF SERVICE

      I hereby certify that on March 26, 2020, I caused to be electronically filed

the foregoing Plaintiff’s Motion for a Preliminary Injunction with the Clerk of the

Court using the CM/ECF system, which will send notifications of filings to all

counsel of record.

                                         Respectfully submitted,


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